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8                             IN THE UNITED STATES DISTRICT COURT
9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA AND THE             CASE NO. 17-cv-01757 LJO SAB
     STATE OF CALIFORNIA ex rel. THOMAS
11   TURNER,                                      FIRST AMENDED COMPLAINT FOR
                                                  VIOLATIONS OF THE FALSE CLAIMS
12                  Plaintiffs,                   ACT AND CALIFORNIA FALSE CLAIMS
                                                  ACT
13           v.
14   DYNAMIC MEDICAL SYSTEMS LLC;
     JOERNS HEALTHCARE LLC; COVENANT                    DEMAND FOR JURY TRIAL
15   CARE CALIFORNIA LLC; MARINER
     HEALTH CARE MANAGEMENT
16   COMPANY; PLUM HEALTHCARE GROUP
     LLC; and CAMBRIDGE HEALTHCARE
17   SERVICES.
18                  Defendants.
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1           Plaintiffs the United States of America (“United States”) and the State of California, by and
2    through Relator Thomas Turner (“Relator”), allege as follows.
3    I.     INTRODUCTION
4           1.      Relator brings this action on behalf of the United States and the State of California to
5    recover losses sustained by the Medicare and Medi-Cal programs, as a result of Defendants’
6    differential billing practices, as well as kickbacks paid by Dynamic Medical Systems LLC
7    (“Dynamic”) and Joerns Healthcare LLC. (“Joerns”) to various Skilled Nursing Facilities (“SNFs”),
8    including the other Defendants in this action.
9           2.      This is a classic “swapping” scheme in which Dynamic and Joerns’ kickbacks took the
10   form of deep discounts to certain patient populations on the daily rental rates for certain specialty
11   beds and mattresses. Dynamic used these discounts to induce SNFs to refer to them higher paying
12   business. These discounts padded the profits of various SNFs, including Covenant Care California,
13   LLC, Plum Healthcare Group LLC, Cambridge Healthcare Services, and Mariner Healthcare.
14          3.      At the same time, Dynamic and Joerns overcharged other patients who were
15   responsible for a Share of Cost (SOC) of their SNF care. These overcharges were ultimately borne
16   by the patients, as well as the Medicare and Medi-Cal programs.
17          4.      Defendants’ practices violated the Anti-Kickback statute (42 U.S.C. § 1320a-7b),
18   California Code, Welfare and Institutions Code (WIC) § 14107.2, and Medi-Cal’s low price rules,
19   and resulted in violations of both the Federal False Claims Act and the California False Claims Act.
20          5.      In accordance with the Court’s Order (ECF No. 135), this Amended Complaint adds
21   details regarding the “how,” “when,” and “who” of Defendants’ schemes. In particular, this
22   Amended Complaint details how claims are submitted by the SNFs, Dynamic, and Joerns to
23   Medicare, Medi-Cal, and other payors, and how Defendants engaged in the kickback scheme. This
24   Amended Complaint provides additional detail as to when the kickbacks were provided and when
25   false certifications and claims were submitted, which was every month during the course of the
26   business relationship between the SNFs and Dynamic and Joerns; i.e., this was an ongoing scheme
27   that tainted every single one of their claims to Medicare and Medi-Cal, not a one-time occurrence.
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1    And this Amended Complaint identifies by name who spearheaded the schemes on behalf of each

2    Defendant.

3    II.     JURISDICTION AND VENUE

4            6.       This Court has jurisdiction over the False Claims Act (“FCA”) causes of action raised

5    in this complaint under 28 U.S.C. § 1331, as they arise under Federal law. This Court also has

6    jurisdiction over the FCA claims pursuant to 31 U.S.C. § 3732, which confers jurisdiction for claims

7    brought under the FCA on the District Courts of the United States.

8            7.       Additionally, this Court has supplemental jurisdiction over the other claims in this

9    action pursuant to 31 U.S. Code § 3732(b), as they arise from the same transaction or occurrence as

10   the federal claims. The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367, as

11   they are so related to the FCA claims in the action that they form part of the same case or

12   controversy.

13           8.       Venue is proper pursuant to 31 U.S.C. § 3732(a), as Defendants transact business in

14   this district.

15   III.    PARTIES

16           9.       Plaintiff in this action the United States of America and the State of California, by and

17   through Relator Thomas Turner.

18           10.      Relator Thomas Turner is a resident of Huntington Beach, California. He was hired

19   by Dynamic in February 2006, after Dynamic acquired Relator’s company. Relator served as

20   Dynamic’s President of Long Term Care, and Director for Joerns from 2016 through 2018.

21           11.      Dynamic Medical Systems LLC (“Dynamic”) is a Nevada limited liability corporation

22   headquartered in Rancho Dominguez, California. Dynamic is in the business of leasing specialty

23   mattresses and bed frames to SNFs. Among other things, these mattresses prevent and treat wounds

24   and ulcers, reduce soft tissue distortion, and promote blood flow. Dynamic’s specialty mattress

25   products include: Airdyne, Dynamax, MA 65, and MA 85. Dynamic became a subsidiary of

26   Invacare around October 2011.

27           12.      Joerns Healthcare LLC (“Joerns”) is a Delaware corporation headquartered in Stevens

28   Point, Wisconsin. Like Dynamic, Joerns is in the business of leasing mattresses to SNFs. Joerns

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1    specialty mattress products include: DermaFloat, ProMatt, Dynamax. Joerns acquired Dynamic
2    from Invacare in or around July 2015.
3           13.     Invacare Corporation is an Ohio Corporation based in Elyria, Ohio. Invacare acquired
4    Dynamic in 2011, and later sold the company, along with the rest of its medical device rentals
5    businesses for long-term care facilities to Joerns in or around July 2015.
6           14.     Covenant Care California, LLC (“Covenant”), is a California limited liability
7    corporation headquartered in Aliso Viejo, California. Covenant manages about 30 SNFs in
8    California and entered into discriminatory billing agreements with Joerns.
9           15.     Mariner Health Care Management Company (“Mariner”) is a Delaware corporation.
10   Mariner operates around 19 SNFs in Northern and Southern California and entered into
11   discriminatory billing agreements with Joerns.
12          16.     Plum Healthcare Group LLC (“Plum”) is a California limited liability company based
13   in San Marcos, California which manages around 64 SNFs. Plum entered into discriminatory billing
14   agreements with Dynamic.
15          17.     Cambridge Healthcare Services (“Cambridge”) is a California limited liability
16   company based in Los Angeles, California. Cambridge manages around 37 SNFs and entered into
17   discriminatory billing agreements with Dynamic.
18   IV.    OVERVIEW OF THE SCHEME
19          A.      Medi-Cal, Medicaid, and the Federal Anti-Kickback Law
20          18.     Medicaid is a joint Federal-State program which provides, among other things, long-
21   term care for seniors. Medicaid provides a means for nursing facility residents to pay for skilled-
22   nursing care, as well as room and board in a nursing facility certified by the federal government to
23   provide services to Medicaid beneficiaries.
24          19.     Medi-Cal is California’s Medicaid program. This is a public health insurance program
25   which provides needed healthcare services for low-income individuals including families with
26   children, seniors, persons with disabilities, individuals in foster care, pregnant women, and low-
27   income people with specific diseases such as tuberculosis, breast cancer or HIV/AIDS. Medi-Cal is
28   financed equally by the State of California and the federal government.
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1           20.     Medicare also provides reimbursements to SNFs depending on several factors,
2    including the character of the facility, the beneficiary’s circumstances, and the types of items and
3    services provided. SNFs are typically reimbursed under Medicare Part A for the costs of most items
4    and services, including room, board, ancillary items, and services. In some circumstances, SNFs may
5    receive payments under Medicare Part B.
6           21.     The Federal Anti-Kickback Law, codified at 42 U.S.C. § 1320a-7b, has been on the
7    books since 1972. Its main purpose is to protect patients and federal healthcare programs, including
8    Medicaid and Medicare, from fraud and abuse by curtailing the corrupting influence of money on
9    healthcare decisions. The law establishes civil and criminal penalties for persons who knowingly and
10   willfully receive or pay anything of value to influence the referral of federal health care program
11   business, including Medicare and Medicaid.
12          22.     California Code, Welfare and Institutions Code (WIC) § 14107.2 also addresses
13   kickbacks and protects patients and California healthcare programs from fraud and abuse by
14   curtailing the corrupting influence of money on healthcare decisions.
15          23.     To comply with the Anti-Kickback Laws, SNFs must ensure that all discounts they
16   receive are properly disclosed and accurately reflected on their cost reports. SNFs must also be
17   careful that there is no link or connection between discounts offered or solicited for business that the
18   nursing facility pays for and the nursing facility’s referral of business billable by the supplier or
19   provider directly under any state or federal health care program. For example, nursing facilities may
20   not engage in swapping arrangements by accepting a low price from a supplier or provider on an item
21   or service covered by the SNF’s per diem payment in exchange for the SNF referring to the supplier
22   other state or federal health care program business. Such swapping arrangements implicate the anti-
23   kickback statute and are not protected by the discount safe harbor.
24          B.      How SNF Reimbursement Operates
25          24.     A Skilled Nursing Facility (“SNF”) is a health-care institution that meets federal
26   criteria for Medicaid and Medicare reimbursement for nursing care including especially the
27   supervision of the care of every patient by a physician, the employment full-time of at least one
28   registered nurse, the maintenance of records concerning the care and condition of every patient, the
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1    availability of nursing care 24 hours a day, the presence of facilities for storing and dispensing drugs,

2    the implementation of a utilization review plan, and overall financial planning including an annual

3    operating budget and a 3-year capital expenditures program.

4           25.     In the Balanced Budget Act of 1997, Congress mandated that payment for the majority

5    of services provided to beneficiaries in a Medicare covered SNF stay be included in a bundled

6    prospective payment made through the Part A Medicare Administrative Contractor (MAC) to the

7    SNF. These bundled services had to be billed by the SNF to the Part A MAC in a consolidated bill.

8    No longer would entities that provided these services to beneficiaries in a SNF stay be able to bill

9    separately for those services. Medicare beneficiaries can either be in a Part A covered SNF stay

10   which includes medical services as well as room and board, or they can be in a Part B non-covered

11   SNF stay in which the Part A benefits are exhausted, but certain medical services are still covered

12   though room and board is not. The consolidated billing requirement confers on the SNF the billing

13   responsibility for the entire package of care that residents receive during a covered Part A SNF stay

14   and physical, occupational, and speech therapy services received during a non-covered stay.

15          26.     Medicare thus pays SNFs under a prospective payment system (“PPS”) for

16   beneficiaries covered by the Part A extended care benefit. Covered beneficiaries are those who

17   require skilled-nursing or rehabilitation services and received the services from a Medicare certified

18   SNF after a qualifying hospital stay of at least three days. The PPS rate is a fixed, per diem rate. The

19   maximum benefit is 100 days per “spell of illness.”

20          27.     The PPS pays for all SNF Part A inpatient services. Until recently, Part A payment

21   was primarily based on the Resource Utilization Group (RUG) assigned to the beneficiary following

22   required Minimum Data Set (MDS) 3.0 assessments. As a part of the Resident Assessment

23   Instrument (RAI), the MDS 3.0 is a data collection tool that classifies beneficiaries into groups based

24   on the average resources needed to care for someone with similar needs.

25          28.     In July 2018, CMS finalized a new case-mix classification model, the Patient Driven

26   Payment Model (PDPM), that, effective beginning October 1, 2019, is used under the SNF PPS for

27   classifying SNF patients in a covered Part A stay. PDPM helps determine payment by classifying

28   SNF patients in covered Part A stays. PDPM replaces the RUG payment system and improves

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1    payments under the PPS by: improving payment accuracy by focusing on patient characteristics,
2    rather than amount of services provided, reducing administrative provider burdens, and improving
3    SNF payments to currently underserved patients without increasing total Medicare payments.
4           29.     SNFs bill Medicare Part A using Form CMS-1450 (also called the UB-04) or its
5    electronic equivalent. SNFs use a consolidated bill when filing claims with a Medicare
6    Administrative Contractor (“MAC”) including most services from entities other than the SNF.
7    Entities delivering patient services in a Medicare-covered Part A SNF stay (such as Dynamic and
8    Joerns) must bill the SNF for their services, not the MAC directly. Typically, the SNFs send claims
9    sequentially, monthly, and upon a decrease to less than skilled care, discharge, or benefit period
10   exhaustion. SNFs must bill sequentially, month by month, because the MACs return a continuing
11   SNF stay bill if the prior bill has not processed.
12          30.     Medi-Cal reimburses SNFs for the costs associated with caring for eligible patients.
13   For some of these eligible patients, Medi-Cal reimburses SNFs for the full cost of the patients’ care at
14   a capitated rate. The CMS-1500 and UB-04 (also referred to as CMS-1450) claim forms were
15   adopted by Medi-Cal in 2007 to comply with Federal and State regulations promoting uniformity in
16   billing. The UB-04 bill is used to bill Medi-Cal for capitated rate patients. The CMS-1500 form is
17   used to bill Medi-Cal for certain other patients who qualify not for capitated reimbursement, but
18   reimbursement from Medi-Cal on a fee-for-service basis.
19          31.     Other Medi-Cal recipients must pay, or agree to pay, a monthly dollar amount toward
20   their medical expenses before they qualify for Medi-Cal benefits. This dollar amount is called Share
21   of Cost (“SOC”). A Medi-Cal subscriber’s SOC is similar to a private insurance plan’s out-of-pocket
22   deductible.
23          32.     Generally, a beneficiary’s SOC is determined by the county welfare department and is
24   based on the amount of income a subscriber receives in excess of “maintenance need” levels. Medi-
25   Cal rules require that subscribers pay income in excess of their “maintenance need” level toward their
26   own medical bills before Medi-Cal begins to pay. Both earned income and unearned income —
27   including from sources such as Social Security retirement, survivors or disability benefits, pensions,
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1    and interest from bank accounts, and State Disability Insurance — can count towards income for the

2    purposes of calculating SOC.

3           33.     Providers, including SNFs, access the Medi-Cal eligibility verification system to

4    determine if a subscriber must pay an SOC. The message returned by the eligibility verification

5    system includes the SOC dollar amount the subscriber must pay. Those SOC funds are paid by

6    patients into trust fund accounts at the SNF. The SNFs are responsible for maintaining and managing

7    those trust fund accounts, and must keep track of expenditures from those SOC accounts on an

8    official form (DHS 6114).

9           34.     Under Johnson v. Rank, No. C-84-5979-SC, 1984 WL 48801 (N.D. Cal. Dec. 7,

10   1984), Medi-Cal recipients can elect to use their SOC funds to pay for necessary, non-covered,

11   medical or remedial-care services, supplies, equipment and drugs that are prescribed by a physician

12   and part of the “plan of care” authorized by the recipient’s attending physician.

13          35.     A medical service is considered a non-covered benefit if either: (1) the medical

14   services is rendered by a non-Medi-Cal provider, or (2) the medical service falls into the category of

15   services for which a Treatment Authorization Request (“TAR”) must be submitted and approved.

16          36.     In the event a Medi-Cal recipient spends part of his or her SOC on “non-covered”

17   medical or remedial services, the SNF must subtract those amounts from the recipient’s SOC and bill

18   the recipient in an amount equal to the remaining SOC. The SNF then bills Medi-Cal in an amount

19   equal to the difference between the typical Medi-Cal funding per patient and this particular patient’s

20   remaining SOC.

21          37.     For example, a patient who pays $600 per month on non-covered medical expenses

22   and has a $1000 SOC will only need to pay $400 out of her SOC for covered services before

23   qualifying for Medi-Cal benefits. The facility would then deduct $400 from the amount billed to

24   Medi-Cal. Medi-Cal thus pays $400 less per month than it pays for a typical Medi-Cal patient

25   without an SOC.

26          C.      How Defendants’ Fraudulent Scheme Operated

27          38.     Defendants engaged in a swapping arrangement to defraud Medicare and Medi-Cal.

28   Under the scheme, Dynamic and Joerns offered deep discounts on specialty mattress rental rates to

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1    certain patient segments in order to induce SNFs to use their products. At the same time, Dynamic

2    and Joerns overcharged patients who were responsible for an SOC. The overcharges were borne by

3    the patients and government payers, as opposed to the SNFs.

4           39.     In return for the discounts offered by Dynamic and Joerns, SNFs would refer 90 to

5    100 percent of their patients to Dynamic and Joerns.

6           40.     Dynamic and Joerns charge three different mattress rental rates, as detailed in the

7    following paragraphs.

8           41.     First, the stated and published rate billed directly to Medi-Cal by Dynamic and Joerns

9    is $18.76 per day. Dynamic and Joerns only bill Medi-Cal directly for the $18.76 per day rate for a

10   portion of patients with “qualifying wounds” that require specialty mattresses and equipment. In

11   billing Medi-Cal for the “qualifying wounds” patients, Dynamic and Joerns submit claims using the

12   CMS-1500 form, or electronic equivalent. The submission explicitly certifies, among other things,

13   that the suppliers (Dynamic or Joerns) have provided truthful and accurate information and have

14   followed the laws relating to Medicare and Medicaid (e.g. in California, Medi-Cal). These laws

15   include the Anti-Kickback Statute, the FCA and Medi-Cal low price rules. The back page of the

16   CMS-1500 form includes an explicit certification that providers and suppliers attest to the following:

17
              SIGNATURE OF PHYSICIAN OR SUPPLIER (MEDICARE, TRICARE, FECA
18                                 AND BLACK LUNG)

19          In submitting this claim for payment from federal funds, I certify that: 1) the
            information on this form is true, accurate and complete; 2) I have familiarized myself
20          with all applicable laws, regulations, and program instructions, which are available
            from the Medicare contractor; 3) I have provided or will provide sufficient
21          information required to allow the government to make an informed eligibility and
            payment decision; 4) this claim, whether submitted by me or on my behalf by my
22          designated billing company, complies with all applicable Medicare and/or Medicaid
            laws, regulations, and program instructions for payment including but not limited to
23          the Federal anti-kickback statute and Physician Self-Referral law (commonly known
            as Stark law); 5) the services on this form were medically necessary and personally
24          furnished by me or were furnished incident to my professional service by my
            employee under my direct supervision, except as otherwise expressly permitted by
25          Medicare or TRICARE . . .
            ...
26
            No Part B Medicare benefits may be paid unless this form is received as required by
27          existing law and regulations (42 CFR 424.32).

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1           NOTICE: Any one who misrepresents or falsifies essential information to receive
            payment from Federal funds requested by this form may upon conviction be subject
2           to fine and imprisonment under applicable Federal laws.
3           42.     As detailed further herein, Dynamic and Joerns violated these laws by participating in
4    a swapping scheme and discriminatory billing. Accordingly, each time Dynamic and Joerns
5    submitted a claim to Medi-Cal for mattress rental to a “qualifying wound” patient, that claim was
6    false, as Dynamic and Joerns were not in compliance with the explicit certifications that accompanied
7    those claims. Even absent the certifications, the claims were false, because they were overcharges;
8    i.e., they charged Medi-Cal more than they had agreed to and were entitled to. Dynamic and Joerns
9    are in possession of detailed billing and reimbursement records that will easily identify each and
10   every claim they submitted to Medi-Cal for “qualifying wound” patients, including the identity of the
11   patient, the date of service, the date the bill was submitted, the amount of the charge, and the amount
12   reimbursed. Bills were submitted by Dynamic and Joerns by various personnel in their billing
13   departments, however, the certifications are those of the company (rendering provider) itself. It is
14   common knowledge in the healthcare industry that the Medi-Cal and Medicare claim forms include
15   the foregoing certifications.
16          43.     Second, as to patients with private insurance, Medicare, and patients with Medi-Cal
17   and no SOC, Dynamic and Joerns charged SNFs a massively discounted price of between $3 and $6
18   per day. These patients are known in the industry as the “facility” segment. These fees are not billed
19   directly to Medi-Cal by Dynamic and Joerns. Instead, the SNFs pay Dynamic and Joerns these
20   amounts out of the set capitated rates that the SNFs receive from the payors. Accordingly, the deeply
21   discounted prices are a massive benefit to the SNFs’ bottom lines, and represent kickbacks from
22   Dynamic and Joerns to the SNFs. Each claim form submitted to Medicare, Medi-Cal and other
23   government payors by the SNFs for capitated payments that covered, in whole or in part, these deeply
24   discounted mattress rentals from Dynamic or Joerns were false, because those rentals were procured
25   through kickbacks.
26          44.     Third, patients in the SOC segment are charged a “retail” price of up to $23 per day by
27   Dynamic and Joerns. These non-discounted “retail” prices are ultimately borne by the patients and
28   the government, not the SNFs.
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1           45.       Consider, for example, a patient, who lives in a SNF that is reimbursed $5,000 per

2    month by Medi-Cal. If that patient is in the facility segment, and is not responsible for any SOC,

3    Dynamic and Joerns may charge the heavily discounted rate of $3 per day. Medi-Cal pays a

4    capitated rate of $5,000 per month for the patient’s care. Out of that $5,000, the SNF pays Dynamic

5    and Joerns $90 ($3 per day times 30 days) for the specialty mattress rental, and has $4,910 left over

6    for the remainder of the patient’s care (and for profits). Ultimately, the government pays the SNF

7    $5,000 per month for this patient’s care.

8           46.       If the patient has an SOC of $1,000 and is charged the same amount as the facility

9    segment for the specialty mattress, the patient pays $90 out of her SOC for the specialty mattress and,

10   assuming there are no other uncovered costs, the remainder of the SOC ($910) goes to the SNF for

11   the rest of her covered care. Medi-Cal is then responsible for the remaining $4,090 of the SNF’s

12   $5,000 monthly charges. This is how the program would function without discriminatory billings

13   and kickbacks.

14          47.       But under Defendants’ scheme, SOC patients are charged an inflated rate of up to $23

15   per day. Thus, the same patient would pay about $690 of her monthly SOC for the specialty mattress,

16   and have only $310 left over to satisfy her SOC obligation. Medi-Cal is responsible for the

17   remaining $4,690 of the SNF’s $5,000 monthly charges.

18          48.       In the example above, Medi-Cal thus pays an additional $600 per patient per

19   month due to Defendants’ differential billing. Moreover, each SOC patient must pay an additional

20   $600 out of their SOC for a specialty mattress, meaning they have $600 less to spend on other

21   uncovered, but necessary medical costs.

22          49.       The following chart summarizes this example:

23

24      Patient          Patient       Specialty     Specialty       Monthly SOC        Medi-Cal
        Type             Funds         Mattress      Mattress        payment prior      Funding to
25                       from SOC      Rental        Rental          to Medi-Cal        SNF Per
                                       Daily Cost    Monthly         Reimbursement      Month
26
                                                     Cost
27      Medi-Cal         $0            $3            $90             N/A                $5000
        Patient with
28      no SOC
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1       (Facility-
        pay)
2
        Medi-Cal        $1000          $3               $90          $910                  Approximately
3       covered                                                                            $4090
        Patient with
4       $1000 SOC
        (Legal way
5       to bill)
        Medi-Cal        $1000          $23              $690         $310                  Approximately
6
        covered                                                                            $4690
7       Patient with
        $1000 SOC
8       (Dynamic
        billing
9       scheme)
10           50.     Every month, SNFs participating in the scheme provide Dynamic and Joerns with a
11   list of their patients, and the payors that are responsible for those patients. This information is
12   conveyed in a form known as the “Share of Cost Acknowledgement letter.” Using this list, Dynamic
13   and Joerns differentiate between patients who are responsible for a SOC and those that are not, and
14   charge those patient populations different prices.
15           51.     Moreover, within the SOC patient population, Dynamic and Joerns charge different
16   prices in order to max-out their profits from the scheme without raising red flags. If their rates are
17   too high, they risk exhausting the SOC and leaving a balance that the patient or SNF must pay—
18   something that would raise questions from the patient, and defeat the purpose of the scheme for the
19   SNF. On the other hand, if they keep the rates within the SOC limit, then Medi-Cal will fully
20   shoulder the burden of the differential pricing, without the patient every becoming aware. For
21   example, if an SOC patient has an SOC of only $500, Dynamic and Joerns will set the daily rate at
22   approximately $16, so that the monthly rental does not exceed the SOC amount, resulting in charges
23   to the patient that would raise questions. If the SOC patient has an SOC of $1000, then Dynamic and
24   Joerns will charge their full $23 “retail” rate.
25           52.     Each month, the SNFs receive invoices from Dynamic and Joerns—a separate invoice
26   for each patient, both SOC and non-SOC facility patients. The SNFs are thus fully aware of the
27   differential pricing; they know that the facility prices they receive from Dynamic and Joerns are
28   drastically discounted from the SOC pricing. In other words, the SNFs are fully aware that they are
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1    receiving a kickback, and in exchange, they order all of their mattresses from Dynamic and Joerns. It

2    is a classic quid pro quo.

3           53.     In fact, the quid pro quo is reflected and memorialized in the contractual agreements

4    between the SNFs and Dynamic and Joerns. Specifically, the contracts between the SNFs and

5    Dynamic/Joerns require the SNFs to use Dynamic/Joerns exclusively for all bed and mattress needs

6    (and other medical equipment needs as well). In exchange, Dynamic and Joerns provide guaranteed,

7    heavily discounted price lists, attached to those contracts.

8           54.     As but one example, Dynamic’s August 1, 2012 requirements contract with Jeffrey

9    Pine Holdings, LLC dba Villa Las Palmas Healthcare Center, which is owned by Plum, attached

10   hereto as Exhibit A, sets forth a price list (attached as Exhibit B to the contract) with a daily rental

11   rate for AirDyne Mattresses of $5 to $6, an approximately 75% discount off of the rates Dynamic

12   charged SOC patients and Medi-Cal. In exchange for these discounts, Plum agreed to the following

13   clause, which requires Plum to order all of its mattress and other medical supplies from

14   Dynamic/Joerns:

15

16

17

18

19

20

21

22          55.     Attached hereto as Exhibit B is an August 1, 2015 provider agreement between

23   Dynamic and Queen Ann's Lace Holdings, LLC dba Whitney Oaks Care Center, owned by Plum.

24   "Exhibit B" to the agreement lists sections for both the "tiered daily rental rate" and "daily rentals."

25   While the "tiered rates" for mattresses range between $2.50 per day and $6.50 per day, the "daily

26   rentals" for 8 mattresses $13 per day or more. The document includes the same quid pro quo—the

27   “requirements” language—as above.

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1             56.   Attached hereto as Exhibit C is an October 1, 2016 provider agreement between LAC

2    Verdugo Operations LLC dba Glendale Post Acute Center and Dynamic. "Exhibit B" to the

3    agreement lists the pricing for daily mattress rentals. The daily rental rates for alternating pressure

4    mattresses between $6 and $8. The document includes virtually the same quid pro quo—the

5    “requirements” language—as above, however for slightly less with “an aggregate 90% utilization

6    rate”.

7             57.   These are representative examples of the quid pro quo reflected in multiple contracts

8    between Dynamic and/or Joerns and the SNF Defendants' facilities. Until at least 2018, this was a

9    standard contractual provision in the Dynamic and Joerns contract.

10            58.   The individuals described in the following paragraphs were primarily responsible for

11   entering into these agreements and/or implementing the SOC differential billing scheme.

12            59.   Dynamic has carried out this scheme since at least 2006, when it acquired Relator’s

13   company, when then CEO, Dave Robertson informed Relator that he would be overcharging SOC

14   patients at several SNF facilities. Robertson was also the controlling shareholder of Dynamic.

15   Robertson was the person who implemented the SOC program at Dynamic and created higher price

16   billing for SOC patient and qualifying wound patients, which resulted in differential billing. He

17   spearheaded the discriminatory billing practices. Dynamic was sold to Invacare in September 2011

18   with a one year earn out and the total sale exceeded $52,000,000. It is estimated the billing scheme

19   was a significant factor in the valuation and sale.

20            60.   Relator continued to work with Invacare for about 18 months as a consultant and

21   Joerns in 2016 to 2018 after Dynamic was acquired. Spreadsheets and other data show that in 2011

22   Dynamic/Invacare was clearly continuing to charge different rates for SOC patients, for identical

23   products. For example, SNF Legacy Post-Acute Rehabilitation Center was sanctioned by the

24   California Department of Health Care Services (“DHCS”) after a December 2011 cost report was

25   filed by Legacy relating to charges associated with Dynamic/Invacare. In April 2013, after auditing

26   the cost report, DHCS found Legacy was overpaid $46,626 because of discriminatory billing

27   practices. Legacy appealed this ruling which was upheld in 2015 by an Administrative Law Judge.

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1           61.     Numerous Dynamic/Joerns employees carried out the scheme. Jane Jeys was a

2    Clinical Nurse at Dynamic. She was instructed to search-out all SOC and Medi-Cal business in order

3    to increase profits. Ellen Murphy was a Clinical Nurse for Dynamic. Murphy was told to capture as

4    much SOC and Medi-Cal business as possible.

5           62.     Dynamic continued the scheme after it was acquired by Invacare in 2011, as well as

6    through Joerns once Joerns acquired Dynamic from Invacare in 2015. Joerns carried out the scheme

7    from at least 2015 through 2018. Correspondence internally at Joerns from January of 2019 indicates

8    that it had been carrying out the scheme until that time. It was also understood that Joerns

9    perpetrated an identical scheme before it acquired Dynamic.

10          63.     Greg Apostolou was the former CEO and President of Dynamic and oversaw all

11   operations of Dynamic prior to its sale to Invacare. Apostolou worked under Invacare for

12   approximately one or two years and in or about 2016 returned to the company, after it had been

13   acquired by Joerns in 2015. He was a top executive at Joerns and directly under the CEO, and had

14   continued involvement with California operations. At Dynamic, Invacare and Joerns, Apostolou was

15   one of the drivers of differential billing. He pushed high volume and sales to employees, coupled

16   with inflated billing of mattresses to the SOC population. In 2016, Apostolou admitted to Relator

17   that unless SNF customers requested that Joerns lower the rates for SOC patients to match the facility

18   patient rates, Joerns would continue to charge a higher rate for the SOC population because Joerns

19   was benefitting from increased revenues through the practice. Apostolou was involved in the

20   negotiations with Defendant Plum and with Legacy Healthcare, a SNF that had been sanctioned by

21   the DHCS for engaging in discriminatory billing with Dynamic. Despite the agency investigation of

22   Legacy Healthcare, Apostolou knowingly continued the scheme and pushed for Plum to continue to

23   invoice SOC patients at higher rates. Plum was later audited as well.

24          64.     Robert Husband was an Account Executive in Northern California and one of the key

25   players in carrying out the differential pricing scheme by working with the SNFs and Joerns’ team

26   members in securing SOC patients, and intentionally charging those patients a higher rate.

27          65.     Dennis Zierden is the Vice President of Post-Acute Sales at Joerns and was

28   responsible for overseeing California accounts, and had frequent meetings with SNF customers. He

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1    managed both the Mariner and Covenant accounts from at least 2010 through 2018. Zierden utilized

2    the fraudulent billing practices to hit sales quotas.

3           66.     Directors, Clinical Specialists and other Joerns’ sales agents were trained to increase

4    SOC rentals. For example, Odily Franklin, a former Joerns’ RN Clinical Solutions Specialist, was

5    responsible for Mariner accounts in Los Angeles and San Fernando Valley from at least 2016 through

6    2018. She was tasked with invoicing as many SOC patients as possible to increase profits. Franklin

7    and others worked specifically with Mariner and carried out the scheme.

8           67.     Laura Bailey also is a former Director of Sales at Joerns who pushed the fraudulent

9    practices in working with SNFs, and securing contracts, at the direction of other Joerns’ executives.

10   Eric Banaag is a Clinical Account Manager at Joerns and worked in the field directly with the SNFs

11   in implementing the practices.

12          68.     Axiom, which consults with SNFs and provides cost reporting to the SNFs, was aware

13   of investigations, including the Legacy audit. An Axiom representative advised that the differential

14   billing practices would be problematic for the SNFs, and warned Dynamic of this. This Axiom

15   representative advised Dynamic that he thought all nursing homes in California would be audited for

16   mattress billing discrepancies. Despite the warnings, Dynamic continued to invoice different prices

17   for SOC and non-SOC patients, and Apostolou advised Relator not to discuss the audits with the SNF

18   customers. Apostolou claimed that if the differential billing ever came to light, it would be the SNFs’

19   issue to deal with, not Dynamic’s.

20          69.      Defendant SNF executives and agents approved and pushed the scheme, despite

21   everyone knowing it was unlawful. Relator is aware that Cambridge participated in the scheme from

22   at least 2012 through 2017. In 2016, Gordon Hodnett, was the Director of Purchasing at Cambridge.

23   He continued the scheme and further pushed invoicing SOC patients as much as possible at the

24   higher rates, so Cambridge would not be responsible for the mattress payments, and would continue

25   benefiting from heavily discounted “facility” rates that Dynamic and Joerns could afford due to huge

26   profit margins on the SOC patient business.

27          70.     Relator is aware that Plum carried out the scheme with Dynamic/Invacare from at least

28   2012 through 2018. Although Plum was audited in 2014 by DHCS for billing practices, it continued

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1    to work with Dynamic until the end of 2018, following the same billing practices. Mary Nieder was

2    the former Director of Accounts Receivable at Plum. Nieder approved the billing to Medi-Cal for all

3    Plum patients, including of the differential billing to the SOC patient population, and was aware the

4    billing was discriminatory. Bryan Brockbank was a former Purchasing Manager at Plum. He worked

5    with Nieder who gave approval for SOC differential billing. He was aware that the DHCS

6    investigated Plum, and that the DHCS recouped funds for the billing practices. He was tasked with

7    attempting to collect over $325,000 from Dynamic for recoupment.

8           71.     Relator is aware that Mariner participated in the scheme from at least 2016 through

9    2018. Dennis Sarcauga is the Executive Vice President of Operations at Mariner. Sarcauga was

10   aware of the billing practices and encouraged the discriminatory pricing of SOC patients because

11   those patients carried the payment. He approved the billing practices on behalf of Mariner.

12          72.     Relator is aware that Covenant participated in the scheme from at least 2016 through

13   2018. Dava Ashley is the President of Covenant and formerly was the Clinical Director. Ashley

14   worked directly with Zierden from Joerns and approved Joerns’ billing practices.

15          73.     Defendants and their agents have been aware for years of the aforementioned false

16   billing practice and knowingly permitted such wrongful practices to continue.

17          74.     During the time frames above (and likely beyond, as discovery will establish), every

18   claim submitted by Defendants to Medicare, Medi-Cal, or any other payor whose funds originate in

19   whole or in part from the government, for any patient utilizing a bed, mattress, or other equipment

20   supplied by Dynamic or Joerns, was false, because Joerns and Dynamic obtained the SNF business

21   via illegal kickbacks in violation of the federal AKS statute (42 U.S.C. § 1320a-7b) and California

22   Code, Welfare and Institutions Code (WIC) § 14107.2.

23          D.      Defendants’ Discriminatory Billing Practices Violate Federal and California Law

24          75.     Defendants’ actions violate the Anti-Kickback statute, which forbids persons from

25   receiving any remuneration, including any kickback, bribe, or rebate in return for referring an

26   individual to a person for the furnishing of any item or service, or in return for leasing any good for

27   which payment may be made in whole or in part under a federal health care program. 42 U.S.C. §

28   1320a-7b.

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1           76.      Similarly, Defendants’ actions violate California Code, Welfare and Institutions Code

2    (WIC) § 14107.2, which also forbids kickbacks.

3           77.      Defendants’ actions further violate Medi-Cal’s low price rules, which prohibit

4    discriminatory billing. Specifically, 22 California Code of Regulations (“CCR”) § 51480(a) states

5    “No provider shall bill or submit a claim for reimbursement for the rendering of health care services

6    to a Medi-Cal beneficiary in any amount greater or higher than the usual fee charged by the provider

7    to the general public for the same service.” Likewise, 22 CCR § 51501 states that, under the Medi-

8    Cal program, “no provider shall charge for any service or any article more than would have been

9    charged for the same service or article to other purchasers of comparable services or articles under

10   comparable circumstances.”

11          E.       Defendants’ “Qualifying Wound” Scheme Violated Medi-Cal’s Low Price Rules.

12          78.      As detailed above, and apart from the SOC scheme, Dynamic, Joerns, and Invacare

13   billed Medi-Cal directly for patients with qualifying wounds that require specialty mattresses and

14   equipment. The rates for these patients was $18.76 per day, far higher than the rates charged to other

15   patients in the facility segment. Dynamic, Joerns, and Invacare’s billing practices for “qualifying

16   wound” patients violated the Medi-Cal low price rules set forth in 22 CCR §§ 51480 and 51501,

17   among others.

18          F.       Defendants’ Kickbacks Induced the Referral of Medicare Business

19          79.      Many SNF patients receive financial assistance from Medicare. As detailed above, by

20   providing deep discounts on the “facility” patients, Dynamic and Joerns assured that they would be

21   the exclusive supplier of beds and other supplies to the SNFs. This is an illegal quid pro quo,

22   designed to induce the referral of all business, including Medicare business, in violation of the Anti-

23   Kickback Law.

24          G.       Further Evidence of the Scheme

25          80.      Joerns, Dynamic, and Invacare entered into provider agreements with several SNFs

26   through which they agreed to provide mattresses at discounted daily rates, even though they bill

27   Medi-Cal a daily rate for such products of $18.76.

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1           81.     For example, Dynamic’s August 1, 2015 Provider Agreement with Queen Ann’s Lace

2    Holdings, LLC dba Whitney Oaks Care Center, which is owned by Plum, sets forth a daily rental rate

3    for AirDyne Mattressses of $2.50 to $6.00.

4           82.     Dynamic’s October 1, 2016 Preferred Provider Agreement with LAC Verdugo

5    Operations LLC dba Glendale Post Acute Center sets forth daily rental rates of $6.00 to $8.50 for

6    various alternating Pressure Mattresses.

7           83.     Dynamic’s Preferred Provider Agreement with Breeze Health Care, Inc. dba

8    Beachside Nursing Center, dated June 1, 2016, sets forth a daily rental rate of $6.00 for Airdyne

9    pump with a standard size Dynamax Mattress.

10          84.     Dynamic’s August 1, 2012 requirements contract with Jeffrey Pine Holdings, LLC dba

11   Villa Las Palmas Healthcare Center, which is owned by Plum, sets forth a daily rental rate for

12   AirDyne Mattresses of $5 to $6.

13          85.     Dynamics’s November 30, 2011 provider agreement with Redlands Healthcare Center

14   sets forth a daily rental rate for AirDyne Mattresses of $5.25 to $8.00.

15          86.     Dynamic emails demonstrate the entire purpose of the scheme was to induce SNFs to

16   refer more business, and to capture the higher profit margins that the differential billing could

17   provide. For example, on March 16, 2017, Robert Husband, an account executive at Joerns, sent an

18   email to Laura Bailey, the Director of Sales at Joerns, stating he wanted to convert one of his

19   accounts, Fairfield Post Acute, from Joerns to Dynamic. Husband explained: “If we switch

20   equipment to DMS [Dynamic] we can easily double our current revenue with this account by getting

21   rid of the competition and pushing the share of cost program.” Bailey responded “I see no issue,

22   we have a contract through DMS, we stand to gain business plus SOC and DMS has product they can

23   provide.”

24          87.     Due to increased audit activity by the State of California surrounding SOC issues, by

25   2018, several of Dynamic and Joerns’ SNF customers became more risk averse and expressed

26   concerns about the differential billing practices described above.

27          88.     For example, Dynamic received complaints about differential billing in August and

28   September 2017 from Dycora Transitional Health, which operates 19 SNFs in California.

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1    Specifically, Vicki Keyser, Dycora’s Director of Business Office Operations, expressed concerns that

2    SOC patients were being charged higher fees for mattresses than other types of patients. Keyser

3    demanded that “all of July’s SOC invoices adjusted to the facility rates.”

4           89.     Likewise, feeling the pressure of being caught, Cambridge also contacted Dynamic

5    and Joerns in 2017 requesting that their SOC rates be set so that they were equal to their facility rates.

6    Cambridge operates Nursing Home facilities in Northern and Southern California.

7           90.     Similarly, Plum, which operates up to 64 SNFs in the State of California, also

8    expressed concerns about Dynamic’s discriminatory billing.

9           91.     In September 2017, New Vista Health Services, which operates SNFs in Sunland,

10   California, requested that Dynamic “fix the differential billing issues for SOC patients.” Dynamic

11   had been renting mattresses to New Vista’s non-SOC patients for $2.50 to $4.50 per day, well below

12   the rate effectively billed to Medi-Cal.

13   V.     CAUSES OF ACTION

14                                       FIRST CAUSE OF ACTION

15                                Violations of the Federal False Claims Act

16                                          Presenting False Claims

17                                         (31 U.S.C. § 3729(a)(1)(A))

18                                       On Behalf of the United States

19                                              Against All Defendants

20          92.     Relator incorporates herein by reference and realleges the allegations stated in this

21   Complaint.

22          93.      Defendants knowingly caused to be presented false claims for payment or approval to

23   an officer or employee of the United States.

24          94.     Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1)) presented false records

25   and statements, including but not limited to claims, bills, invoices, requests for reimbursement, and

26   records of services, in order to obtain payment or approval of charges by the Medicare and Medicaid

27   program that were higher than they were permitted to claim or charge by applicable law. Among

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1    other things, Defendants knowingly submitted false claims for Medicare and Medicaid business that

2    was obtained by means of, and as a result of illegal kickbacks.

3           95.     Defendants knowingly made, used, and caused to be made and used false certifications

4    that their claims, and all documents and data upon which those claims were based, were accurate, and

5    were supplied in full compliance with all applicable statutes and regulations.

6           96.     The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(A) and was a substantial

7    factor in causing the United States to sustain damages in an amount according to proof.

8                                      SECOND CAUSE OF ACTION

9                                 Violations of the Federal False Claims Act

10                              Making or Using False Records or Statements

11                            Material to Payment or Approval of False Claims

12                                        (31 U.S.C. § 3729(a)(1)(B))

13                                      On Behalf of the United States

14                                          Against All Defendants

15          97.     Relator incorporates herein by reference and realleges the allegations stated in this

16   Complaint.

17          98.     Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1)) made, used, or caused to

18   be made or used false records or statements material to false or fraudulent claims.

19          99.     Defendants knowingly made, used, and/or caused to be made and used false records

20   and statements, including but not limited to claims, bills, invoices, requests for reimbursement, and

21   records of services, in order to obtain payment or approval of charges by the Medicare program that

22   were higher than they were permitted to claim or charge by applicable law. Among other things,

23   Defendants knowingly submitted false claims for Medicare and Medicaid business that was obtained

24   by means of, and as a result of illegal kickbacks.

25          100.    Defendants knowingly made, used, and caused to be made and used false certifications

26   that their claims, and all documents and data upon which those claims were based, were accurate, and

27   were supplied in full compliance with all applicable statutes and regulations.

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1           101.    The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(B) and was a substantial

2    factor in causing the United States to sustain damages in an amount according to proof.

3                                       THIRD CAUSE OF ACTION

4                                 Violations of the Federal False Claims Act

5                        Conspiracy to Commit Violations of the False Claims Act

6                                         (31 U.S.C. § 3729(a)(1)(C))

7                                       On Behalf of the United States

8                                           Against All Defendants

9           102.    Relator incorporates herein by reference and realleges the allegations stated in this

10   Complaint.

11          103.    Defendants conspired with each other and various other SNFs to commit the violations

12   alleged in this complaint, including causes of action one and two, inclusive.

13          104.    Defendants performed acts, including agreeing to discounted prices to effect the object

14   of the conspiracy. As detailed above, each SNF knowingly entered into the differential pricing

15   arrangements with Joerns and Dynamic described above. Under those arrangements, the SNFs knew

16   exactly how much Joerns and Dynamic were billing for SOC patients versus facility patients, for the

17   same exact mattresses. The SNFs thus knew that they were receiving deeply discounted pricing for

18   the facility segment, and agreed in exchange to continue ordering mattresses from Joerns and

19   Dynamic. It was a simple quid pro quo.

20          105.    The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(C) and was a substantial

21   factor in causing the United States to sustain damages in an amount according to proof.

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

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1                                       FOURTH CAUSE OF ACTION
2                                Violations of the California False Claims Act
3                                           Presenting False Claims
4                                    (Cal. Gov. Code § 12651, subd. (a)(1))
5                                     On Behalf of the State of California
6                                            Against All Defendants
7            106.    Relator incorporates herein by reference and realleges the allegations stated in this
8    Complaint.
9            107.    Defendants knowingly presented or caused to be presented false or fraudulent claims
10   for payment or approval to an officer or employee of the State of California.
11           108.    Defendants’ false or fraudulent claims had the natural tendency to influence agency
12   action or were capable of influencing agency action.
13           109.    The State of California sustained damages because of Defendants’ acts, in amounts to
14   be proved at trial.
15                                       FIFTH CAUSE OF ACTION
16                               Violations of the California False Claims Act
17   Making or Using False Records or Statements to Obtain Payment or Approval of False Claims
18                                   (Cal. Gov. Code § 12651, subd. (a)(2))
19                                    On Behalf of the State of California
20                                           Against All Defendants
21           110.    Relator incorporates herein by reference and realleges the allegations stated in this
22   Complaint.
23           111.    Defendants knowingly made, used, or caused to be made or used false records or
24   statements to get false or fraudulent claims approved by the State of California, in violation of the
25   California False Claims Act.
26           112.    Defendants knowingly made, used, or caused to be made or used false records or
27   statements material to false or fraudulent claims involving State funds, in violation of the California
28   False Claims Act.
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1            113.    Defendants’ false records or statements had the natural tendency to influence, or

2    capable of influencing, the payment or receipt of money, property, or services.

3            114.    The State of California sustained damages because of Defendants’ acts, in amounts to

4    be proven at trial.

5                                            SIXTH CAUSE OF ACTION

6                                              (In the Alternative)

7                                Violations of the California False Claims Act

8                                   Inadvertent Submission of False Claims

9                                    (Cal. Gov. Code § 12651, subd. (a)(8))

10                                    On Behalf of the State of California

11                                           Against All Defendants

12           115.    Relator incorporates herein by reference and realleges the allegations stated in this

13   Complaint.

14           116.    In the alternative, Defendants were the beneficiaries of inadvertent submissions of

15   false claims, subsequently discovered the falsity of the claims, and failed to disclose the false claims

16   to the State of California within a reasonable time after discovery of the false claims.

17           117.    To the extent any of Defendants’ complained of acts were inadvertent at the time

18   committed, Defendants subsequently discovered they had engaged in discriminatory billing practices

19   and failed to disclose the facts to the State of California within a reasonable time of such discovery.

20           118.    Defendants’ false or fraudulent claims had the natural tendency to influence agency

21   action or were capable of influencing agency action.

22           119.    The State of California sustained damages because of Defendants’ acts, in amounts to

23   be proven at trial.

24   ///

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     FIRST AMENDED COMPLAINT; CASE NO. 17-cv-01757 LJO SAB                                                     23
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1                                      SEVENTH CAUSE OF ACTION
2                                Violations of the California False Claims Act
3                                                  Conspiracy
4                                    (Cal. Gov. Code § 12651, subd. (a)(3))
5                                     On Behalf of the State of California
6                                            Against All Defendants
7           120.     Relator incorporates herein by reference and realleges the allegations stated in this
8    Complaint.
9           121.     Defendants conspired with each other and various other SNFs to commit the violations
10   alleged in this complaint, including causes of action four, five and six, inclusive.
11          122.     Defendants performed acts, including agreeing to discounted prices for SOC patients
12   to effect the object of the conspiracy. As detailed above, each SNF knowingly entered into the
13   differential pricing arrangements with Joerns and Dynamic described above. Under those
14   arrangements, the SNFs knew exactly how much Joerns and Dynamic were billing for SOC patients
15   versus facility patients, for the same exact mattresses. The SNFs thus knew that they were receiving
16   deeply discounted pricing for the facility segment, and agreed in exchange to continue ordering
17   mattresses from Joerns and Dynamic. It was a simple quid pro quo.
18          123.     The conduct of Defendants violated California Government Code section 12651,
19   subdivision (a)(3) and was a substantial factor in causing the State of California to sustain damages in
20   an amount according to proof.
21   VI.    PRAYER FOR RELIEF
22          WHEREFORE, Plaintiff the United States of America, by and through Relator, prays for
23   relief against all Defendants as follows:
24                1. Pursuant to 31 U.S.C. § 3729(a)(1), three times the amount of damages the United
25                   States has sustained because of Defendants’ acts in violation of the Federal False
26                   Claims Act, in an amount to be determined at trial.
27                2. Pursuant to 31 U.S.C. § 3729(a)(1), the maximum allowed civil penalty for each
28                   violation of the Federal False Claims Act, in an amount to be determined at trial.
     FIRST AMENDED COMPLAINT; CASE NO. 17-cv-01757 LJO SAB                                                   24
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1                   3. Pursuant to 31 U.S.C. § 3729(a)(3), and all other applicable provisions of law, the
2                      costs of this action;
3                   4. Prejudgment and postjudgment interest
4                   5. Such further additional relief as the Court deems proper.
5            Plaintiff the State of California, by and through the Relator, prays for relief against all
6    Defendants as follows:
7                   1. Pursuant to California Government Code § 12651 (a), three times the amount of
8                      damages the State of California has sustained because of Defendants’ acts in violation
9                      of the California False Claims Act, in an amount to be determined at trial.
10                  2. Pursuant to California Government Code § 12651(a), the maximum allowed civil
11                     penalty for each violation of the False Claims Act, in an amount to be determined at
12                     trial.
13                  3. Pursuant to California Government Code § 12651 (a), and all other applicable
14                     provisions of law, the costs of this action;
15                  4. Prejudgment and postjudgment interest
16                  5. Such further additional relief as the Court deems proper.
17           Further, Relator, on his own behalf, requests that he receive the maximum amount as
18   permitted by law of the proceeds of this action or settlement of this action collected by the United
19   States and/or the State of California, plus an amount for reasonable expenses incurred, plus
20   reasonable attorneys’ fees and costs of this action. Relator requests that his percentage be based upon
21   the total value recovered, including any amounts received from individuals or entities not parties to
22   this action.
23
     Dated: March 21, 2022                     COTCHETT, PITRE & McCARTHY LLP
24

25
                                               By:    /s/ Justin T. Berger
26                                                    JUSTIN T. BERGER
                                                      SARVENAZ (NAZY) FAHIMI
27
                                               Attorneys for Relators
28
     FIRST AMENDED COMPLAINT; CASE NO. 17-cv-01757 LJO SAB                                                    25
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1    VII.   JURY DEMAND
2           Plaintiff demands a jury trial on all issues so triable.
3

4    Dated: March 21, 2022                  COTCHETT, PITRE & McCARTHY LLP

5
                                            By:     /s/ Justin T. Berger
6                                                   JUSTIN T. BERGER
7                                                   SARVENAZ (NAZY) FAHIMI

8                                           Attorneys for Relators

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     FIRST AMENDED COMPLAINT; CASE NO. 17-cv-01757 LJO SAB                   26
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                                       EXHIBIT A
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                                      PROv1qeR AGREEMENT
                                                   :
Jeffrey Pine Holdings, LLC, a Califom!'a limited liability company dba Villa Las Palmas
Healthcare Center (°Facility") and Dyna le Medical Systems LLC, a Nevada limited liability
company· ("Provider") enter into ,this pri ary provider agreement (this "Agreement") dated
August 1. 2012, for the consideration and ~pon the terms and conditions set forth herein. ·




designated on Exhibit A hereto; and
                                     1
                                                  t!RECITALS

WHEREAS, Facility owns and/or operates one or more healthcare facilities at the locations


WHEREAS, Provider is engaged In the b iness of providing the products, services and _related
supplies described on Exhibits B & C atta hed hereto (the 14Resourcesj; and

WHEREAS, Provider and Facility wish t~ enter into this Agreement to provide the terms and
conditions whereby Provider shall provide the Resources to Facility.

NOW, THEREFORE, it is agreed:

1.      Requirements Contract; Scope

        A.                                        I
                   Facility hereby agrees to fill its requirements for Resources from Provider,
                   subject to any legal rights    bf
                   and,, in considerationthe1f,  patients of Facility to choose alternative providers;
                                                  Provider hereby agrees to fill the requirements of
                   Facility for the Resources in an efficient, timely and professional manner, In
                   substantial compliance w· all applicable government regulations and at the
                   rates specified herein. T~e initial prices for the Resources are set forth on
                   Exhibits B & C hereto.      I
                                                  I
        B.         Although this Agreement ~vers only the specific locations referenced in Exhibit
                   A hereto, Facility acknowtedges and agrees that inclusion of other facilities
                   owned, operated or othe3se controlled by Facility will allow greater economies
                   of scale to Facility. Ace rdingly, Facility shall notify Provider in the event it
                   considers changing provl ers for such other facilHies and aHow Provider to
                   suggest terms for serving s~ch facilities under this Agreement or otherwise.

2.      Tenn.

        The term of this Agreement shall ~ for an initial term of one (1) year from and after the
        Commencement Date. For the pµrpose of this Agreement, the Convnencement Date
        shall be Auqu§t 1. 2012. Thereafter the Agreement will automatically be renewed for one


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            (1) year periods unless written n~lce is given by either party at least ninety (90) days
            prior to the then expiration date or tfle term of this Agreement of such party's intention
            not to renew the term of this Ag~4ment. Provider may increase the prices for Resources
                                                    1




            as set forth in Exhibits B and C he eto by up to 3% each calendar year upon prior written
            notice to Facility.                 ,

3.          Payment Terms.                                  1
                                                    j :
            A.          Provider and Facility shall jp~tly determine whether specific Resources provided
                        under this Agreement a~ ~o be reimbursed by Facility directly or whether
                        Provider shall seek reimbLl)Sement from California Medi-Cal program ("Medi-
                        cal"), Medicare, or other t~party payors for such Resources.

            8.          For Resources charged di tly to Facility, Facility is to remit payment to Provider


                                                 Hi,
                        within 30 days of receipt o 1 f voice from Provider, including those residents who
                        are receiving services for which Facility will seek reimbursement under Medicare,
                        Med~Cal/Medlcaid, an             or other· governmental or third party payors. A
                        1.5% late fee (or such less maximum amount allowed by law) wUI be charged
                        for any outstanding balan . not paid by the 31st day of Facility's receipt of
                        invoice from Provider, whi . ~ fee shall accrue every thirty (30) days thereafter
                        until payment is receivedty Provider. Facility's obligations to Provider shall
                        accrue regardless of whe ~r Facility receives reimbursement from third party
                        payors for the provision of     •f
                                                        h Resources.
                                                            l
            C.          For Resources charged to 'yors other than Facility, Provider reserves the right
                        to determine and adjust  feet
                                                  pharged for the Resources.

            D.
                        for non-covered services    •I
                        Provider may seek Medi-Callreimbursement directly for Medi-Cal Share of Cost
                                                    provided for in this Agreement and the Medi-Cal
                        laws, regulations and pr· vider manuals. Facility's Medi-Cal/Medicaid NPI
                        Number is:       023 48 9           L.


                        (i)    Medi-Cal Share of ~ . t A resident who is a Medi-Cat beneficiary may
                               charge the costs of Resources to his or her Medi-Cal share of cost.
                               Facility, with consul' : ion from Provider, assumes full responsibility for
                               ensuring that Reso rees provided to residents under Medi-Cal share of
                               cost are medically ~essary, ordered by a physician and Incorporated
                               into the resident's pl 'l of care. Facility agrees to be bllled on behalf of the
                               Medi-Cal recipient       orResources which are the subject of Treatment
                               Authorization Requ · ("TARj denials by the Department of Health
                               Services field office 1which are not submitted for TAR approval. Fac.ility
                               atso agrees that if ~~sources are ordered for a qualifying resident, the
                               share of cost be   can  billed directly in accordance with the judgment and
                               consent decree in th.'e! Johnson v. Rank court action and Medi-Cal policy
                               without submission    I pf   a TAR. Facility will obtain the residenf s
                               authorization to use ~~are of cost for the ordered product (Medi-Cal Form
                               DHS6114). The partjes agree that all pharmacy invoices. if any, will be
                               deducted from a r!e$idenrs share of cost prior to deducting any
                               Resources. At no tirhe will the Resources invoiced exceed a resident's
                               share of cost less all prarmacy charges.


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                       (ii)   All Medi-Cal/Medi 'id residents who meet the general regulations used in
                              adjudicating Treat         t or Prior Authorization Requests will be serviced
                              by Provider and bill d accordingly. Facility must provide the required
                              documentation for le ch resident. Services for all Medi-Cal/Medicaid
                              residents that do ndt eet the Medi-Cal/Medicaid general regulations will
                              be billed to Facility. I l

4.          Breach or Default by Facility.          1      l
           If Facility does not pay the charg~ que hereunder or other amou.nt required herein to be
           paid, fails to fulfill its responsibiliti~s under Section 12 of this Agreement or otherwise
           breaches any of the terms or con~t~ons of this Agreement, ceases doing business as a
           going concern, has a petition fll~ by or against it under any of the provisions of
           applicable bankruptcy laws then!' effect, makes an assignment for the benefit of
           creditors, calls a general meeting f reditors or attempts any informal arrangement with
           creditors, or if a receiver or any . cer of a court is appointed to have control of any
           Facility property. Provider shall ~,e the right to exercise any one            more of the    or
           following remedies In order to       protl; its interests:                           .

           A.          Terminate this Agreement    i~ ~hole or in part;
                                                       I           '
                                                       I           •

            B.         Declare all unpaid charges fpibe immediately due and payable;
                                                                   j

            c.         Take possession of anyffi~ all Resources (30
                       wherever the same be lo
                                                                                                  days
                                                                                    after notice is given),
                                                    . , without demand, without any court order or other
                       process of law and withou , l,iability to Facility for any damages occasioned by
                       such taking of possession; r                I
                                                       I
            o.                                                         I




                       Pursue any other remedies existing at law or in equity.
                                                           I:
5.          Breach of Default by Provider.

           This Agreement can be         te$inat~i,y Facility by at least thirty (30) days prior written
           notice in the event of (i) a ~reach ~fi default by Provider of its duties hereunder, which
           breach or default has not ~en cu e';d within one hundred eighty (180) days of written
           notice delivered by Facility    t9
                                          Provl er specifying. in sufficient detail for corrective action,
           the claimed default by Prdvider, ·:ii) any violation of applicable laws or regulations,
           termination of any license,! permit! ~r other registration, or violation of the eligibility
           requirements for reimbursement u~der any government program by Provider. which
           violation or termination has a matefil!ll impact on Provider's ability to perform its duties
           hereunder or (iii) the occurrence c>r; existence of any condition, practice, procedure,
           action, inaction or omission of, by ot involving Provider which, In the reasonable opinion
           of Facility, constitutes either a threat to the health, safety and welfare of any patient,
           resident and/or employee or a viota\ion of any law or regulation governing Facility's
           operation.                            !.
6.         Facility Indemnification.                       1




           Provider agrees to indemnify and h~ld Facility harmless against any and all claims,
           liabilities, damages and expenses, i~cluding without limitation, reasonable attorneys fees
           incurred by the party seeking indemnification in defending, or compromising actions
                                                               t


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        brought against the party seeking indemnification or its officers, directors, employees
        agents and contractors arising out\of or related to the acts or omissions of Provider or its
        employees, agents, and contractqrs in connection with the provision of services under
        this Agreement. Facility shell cooprrate in the defense of any such claim. suit, action, or
        proceeding.                        i


7.      Provider Indemnification.           I
        Facility agrees to indemnify and hold Provider and its officers, directors, employees,
        agents and contractors harmless ~gainst any and all claims, lia.bilities, damages and
        expenses, including without limita~on, reasonable attorneys fees incurred by the party
        seeking indemnification in defendi~g. or compromising actions brought against the party
        seeking indemnification or its offlcers, directors, employees agents and contractors
        arising out of or related to the acts pr omissions of Facility or its employees, agents, and
        contractors in connection with the provision of services under this Agreement. Provider
        shall cooperate in the defense of aryy  such claim. suit, action, or proceeding.

8.      Liability Coverage.

        Provider end Facility shall each ~aintain comprehensive general liability insurance at
        minimum levels of $1,000,000 per <>ccurrence and $3,000,000 aggregate. Provider and
        Facility shall each provide the other party with written evidence of such insurance
        coverage upon request.             l                    .
                                                '
9.      Governing Law, Jurisdiction, Ven~e. Attorney's Fees and Costs.                    .
                                                I
        This Agreement shall be govemet by and construed under the laws of the State of
        California. In the event of any dis ute relating to this Agreement, the parties hereto,
        regardless of their residence. shall e subject to the jurisdiction of the courts of the State
        of California. The parties further SQ.rr~ee that this Agreement is made and entered Into in
        Los Angeles County, Califomia, ~nd regardless of where this contract is to be
        perfonned, the parties agree that t~e state and federal courts located in Los Angeles
        County, California, have venue for t~e purposes of litigating any dispute, controversy or
        proceeding arising out of or relat~ to this Agreement. If any action or arbitration
        proceeding is brought to interpret o enforce the terms of this Agreement, the prevailing
        party will be entitled to recover its a omeys fees and costs. including, but not limited to,
        forum, private judge and arbitrator . s.

10.     Assignment.                                 ,

        Provider shall be entitled to assign        jts
                                                rights under this Agreement to a sub-contractor,
        any affiliate of Provider, and to any company that acquires the business of Provider
        through acquisition or merger, without the consent of FacUity. Facility may not assign its
        rights under this Agreement without the prior written consent of Provider.
        Notwithstanding the foregoing, the ~arties hereto agree that this Agreement shall be
        binding on any party that acquires (he business of Facility in whole or in part through
        sale of equity, assets, merger, co~solidation or other restructuring and/or assumes
        responsibility for or control over a~y of the facilities subject to this Agreement by
        management agreement or other co~tractual arrangement.



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11.          Confidentiality Obligations; Records
                                             I
                                                         i
             A.           Confidential Health fnforrbetion.      Provider end Facility acknowledge that
                          confidential patient reco~ and other information that may constitute Protected
                          Health Information (as d•fined under the Health Insurance Portability and
                          Accountability Act ("HIPM")) may be shared between the parties and their
                          respective employees and~ents pursuant to this Agreement. Provider and
                          Facility shall each main in the confidentiality of all patient information
                          exchanged hereunder in           rdance with all state and federal requirements,
                          including, without timitatio , the requirements of HIPAA and shaH enter into a
                          business associate agreemrnt if necessary.

             B.          Othe              · · Obli          ions. Facility agrees that the (orms, manuals, pricing
                         and billing information and         other non-public Information and materials received
                         by Facility from Provider a            proprietary to Provider and will not be duplicated,
                         ~sed (except pursuElnt to           e provisions of this Agreement) or dlsctosed to third
                         parties without the prior wri        en consent of Provider. Facility also agrees that the
                         form and content of thiS A          reement will not be disclosed to third parties without
                         the prior written consent of         rovider.
                                                     !
             c.          Access to Records. Durinf) the term of this Agreement, and for a period of 4
                         years thereafter (or any loriger period stipulated by applicable law), each party
                         shall upon reasonable req~est be provided copies of the other party's patient
                         records and other records ~fating to the services provided under this Agreement
                         for purposes of treating~tfents, receiving payment for services provided
                          (whether from Facility or     er third party or govemmental payors), health care
                          operations or other lawful urposes in connection with this Agreement or as
                          necessary to comply with ~udits or other investigations, but only to the extent
                                                         Ip
                          such access may be given compliance with all applicab'e laws and regulations
                          governing the use and confidentiality of such records. Each party reserves the
                          right to require payment fro~ the other party of its reasonable costs to provide
                          any physical or electronic copies of such records.

12.          Facility Responsibility. Facility shrll:

             A.          Fulfill its obligations under tJ;lis Agreement in a timely, efficient and professional
                         manner and in compliance    1th      an applicable laws and regulations.
             B.          Obtain all necessary treatrtient authorization requests ("TAR") or other prior
                         authorizations required by gci>vemmental and other third party payers in order for
                         either Facility or Provider to ~k reimbursement for the Resources.
                                                             I
             c.          Notify Provider promptly as Jo any changes in a resident's status, inctuding but
                         not limited to changes in bUling status or discharge, for any resident receiving
                         service under this Agreement within forty-eight (48) hours of such change.
                         Facility agrees to supply Pro~kter within five (5) days of request (written or oral),
                         all available resident information requested by Provider and alSQ provide a
                                                             !'
                         completed Utilizatlon/Billlng atrix at the end of each month.

            D.           Maintain all Resources suppl ed by Provider clean and free from misuse or abuse
                         and disinfect all rental Resoufe6 prior to being switched to a new resident.

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           E.         Compensate Provider for t~e repair or replacement cost of any lost of damaged
                      equipment at Provider's sol~ discretion..

           F.         Use and operate the equipment in accordance with all instructions and user
                      manuals and take all reaso~able and appropriate measures to minimize any risks
                      assocaited with the use of t~e Resources.

           G.         Provide properly trained arld licensed caregivers to monitor the safe use of the
                      Resources.                ·1

           H.         Ensure that the Resources lare properly prescribed or designated for use to the
                      specific patienf s needs. I ·
                                                  I
           I.         Provide Provider with ac~s to all resident charts and medical records on
                      residents covered under T~ird Party billing program and accumulate resident
                      usage .on ~.II Resources provided.
                                                  !
           J.         Sign Provider's euthorizatiJn request/delivery ticket and any other paperwork
                      reasonably requested by Pr,vider upon Facility's acceptance of any Resources.
                                                  I

           K.         Detennine the PAR levels, jclean, store and set up PAR equipment and track
                      PAR mattress utilization  for Resources provided in connection with the PAR
                      Program outlined in Section i13(8) below.

13.        Provider Responsibility. Provldet shall:

           A.         Provide equipment on a prJmpt and timely basts, in accordance with accepted
                      professional practices and i~ compliance with all state and federal laws. Rental
                      or sales charges shall begi~ to accrue on the day the Resources are placed at
                      Facility and with respect to 1each order shall continue until Provider is notified
                      either verbally or in writing tc) remove the Resources. Provider's normal hours of
                      operation are 7:00 a.m. to ~:00 p.m., Monday through Friday. Twenty-four hour
                      EMERGENCY ONLY servic~ is available by dialing 800-225-9080 after hours,
                      Saturday, Sunday and holidays. Emergency requests will be handled by
                      Providers on-duty personnel!

           B.         Assist Facility to implement t' mattress rapid response rental program (the "PAR
                      Program; whereby Provider shall deliver an agreed upon number of mattresses
                      to Facility, and Facility shall be responsible for transferring mattresses between
                      Facility's residents as necessary and appropriate. Facility shall pay the rental
                      rates for all mattresses witt\in the PAR Program regardless of whether such
                      mattresses are being used ~Y a resident at all times. Provider will reference
                      prior historical utilization d~ to assist Facility in determining appropriate PAR
                      level, will monitor all PAR le~~ I placements and periocUcaJly discuss necessary
                      changes to the PAR level · h Facility. Provider will also assist Facility with
                      conversion to third party biflin when needed.
                                                      I

           C.         Provide a Utilization/Billing Matrix to Facility. The Matrix will be provided 7-10
                      days prior to each month-enp. This will allow Facility to notify Provider of any
                      changes during the month ~ that Provider can make the necessary changes to
                                                      i
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                           ensure that Facility's invoi~s will reflect the correct billing status and dates of
                           service.                                       :
                                                                          I
                D.         E-mail or fax a billing invo,ce to Facility approximately the third (3rd) business
                           day of the month.           \

                E.         Provide confinnation numbers when Facility requests an equipment delivery,
                           pick-up or service.                            I
                                                                          I
                                                                          I


                F.         Provide copies of Providir's Policy and Procedure Manuals and/or Quality
                           Assurance monitoring tool . Updates to the Policies and Procedures will be
                           provided as changes occur..

                G.         Provider shall not be oblidated to provide any clinical consulting services in
                           connedion with the R~urces unless the parties executed a separate
                           agreement or addendum reliitlng
                                                      I
                                                           to such services.
                                                                              I


    14.         Warranty

                A.         Limited Warranty; Exclusion of Other warranties. THIS LIMITED WARRANTY IS
                           THE SOLE WARRANTY P OVIDED BY PROVIDER WITH RESPECT TO THE
                           PRODUCTS.        NO SAL S BROCHURE OR OTHER PROMOTIONAL
                           LITERATURE SHALL CO STITUTE A GUARANTY OR WARRANTY BY
                           PROVIDER.       PROVIDE       WARRANTS THAT THE PRODUCTS WILL
                           OPERATE       SUBSTANTIALLY          IN   CONFORMANCE          WITH  THE
                           MANUFACTURER PUBLISHED SPECIFICATIONS WHEN SUBJECT TO
                           NORMAL, PROPER AND~INTENDED USAGE BY PROPERLY TRAINED
                           PERSONNEL. MANUFAC URER PUBLISHED SPECIFICATIONS ARE
                           AVAILABLE UPON REQUE T. IF ANY OF THE PRODUCTS ARE FOUND TO
                           BE DEFECTNE, SUCH P~ODUCTS WILL, AT PROVIDER'S OPTION, BE
                           REPAIRED AT PROVIDER'S COST OR BE REPLACED. THIS WARRANTY IS
                           IN LIEU OF ALL OTHER WARRANTIES EXPRESS OR IMPLIED AND
                           PROVIDER DISCLAIMS ANY WARRANTY OF ANY OTHER KIND, INCLUDING
                           ANY WARRANTY THAT THE PRODUCTS ARE MERCHANTABLE OR FIT FOR
                           A PARTICULAR PURPOSE! PROVIDER DOES NOT WARRANT THAT THE
                           PRODUCTS ARE ERROR-F{REE OR WILL ACCOMPLISH ANY PARTICULAR
                           RESULT.                                                I
                B.         Limitation of Liability. ProvidE:trs liability (whether under the theories of breach of
                           contract or warranty, negligence or strict liability or otherwise} under this
                           Agreement shall be limiteq as set forth above.               IN NO EVENT SHALL
                           PROVIDER'S LIABILITY EXtEED THE RENTAL OR PURCHASE PRICE OF
                           THE PRODUCTS.                                          I
               c.          Disclaimer of Consequential joamages. IN NO EVENT SHALL PROVIDER BE
                           LIABLE FOR INCIDENTAL ©R CONSEQUENTIAL DAMAGES ARISING OUT
                           OF, OR IN CONNECTION vYtTH THIS AGREEMENT INCLUDING, WITHOUT
                           LIMITATION, BREACH OF ANY      1
                                                               OBLIGATION OR WARRANTY IMPOSED ON
                           PROVIDER HEREUNDER.              Consequential damages shall include, without
                                                                                   1:




                           limitation, loss of use, lncome1or profit, or loss sustained as the result of injury to



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                   any person, or toss or dan1age to any property, or loss or damage sustained as
                   the result of work stoppaget
                                                     l
                                                     l

17. Miscellaneous Provisions

          A.       Notices. All notices, reque~ts, demands, and other communications hereunder
                   shall be in writing and st\$11 be deemed to have been duly delivered either i)
                   when delivered (by hand dr by overnight nationally recognized mail service) to
                   the other party or ii) three ($) business days after the same have been deposited
                   in a United States post offi~, with first class postage prepaid and addressed to
                   the parties as follows or at such address as the party may ·.have previously
                   provided in writing:          j
                   To ProVider.       Dynamic Medical Systems, LLC
                                      2811 E Ana $treet
                                      Rancho Dom)nguez, CA 90221
                                      Attn:  Contract Administrator
                                      Phone: 800..225-9080
                                      Fax:   866-896-7317

                   To Facility:       Jeffrey Pine   ~oldlngs, LLC
                                      dba Villa Las 1Palmas Healthcare Center
                                      622 SAnza$t
                                      El Csjon, CA ~2020
                                      Attn: Dan Gilli-:- Administrator
                                      Phone: 619 4f12-0544
                                                         I
                                                         I

          B.       Force Majeyre. Facmty agr~s not to hold Provider responsible for deliveries or
                   services that are not perfo!Jrted due to acts of God or other circumstances or
                   occurrences that are out of ~rovider's control.

          c.       Severabilitv. If any provisJon of this Agreement or the application of such
                   provision to any person or ~ircumstance shall be held illegal, unenforceable or
                   invalid, the remainder of thltAgreement or the application of such· provision to
                   persons or circumstances o er than those to which it is held invalid, Illegal or
                   unenforceable shall not be at cted thereby.
                                                             '(
          0.       Successors and Assigns. E~ch and all of the provisions hereof shall be binding
                   on and inure to the bane~ of the parties hereto end their respec_tive heirs,
                   executors, administrators, successors. and permitted assigns.
                                                I
          E.       lntearation. This Agreemen*'constitutes the entire understanding between the
                   parties with respect to the s bject matter described herein, and supersedes all
                   prior negotiations, dlscussio s, agreements or understandings, whether written.
                   implied or oral.                           ·

          F.       Modification of Agreement. t~Y amendment or modification of or supplement to
                   this Agreement must be in w.nting, expressly identifying this Agreement and the
                   portion or portions thereof which are subject to modification, and signed by the

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                                               I
                   parties. This Agreement njlay not be modified, altered or added to by conduct,
                   oral agreement, estoppels, yitaiver or otherwise.

         G.         Fair Marlset Value. The a~ounts to be paid to Provider hereunder have been
                    determined by the parties through good faith and arms-length bargaining to be
                                                l
                    the fair market value of the1setvices to be rendered hereunder. No amount paid
                    or to be paid hereunder is intended to be, nor will it be construed as, an offer,
                    inducement or payment, wttether directly or indirectly, overtly or covertly, for the
                    referral of patients by Pro'4der to Facility, or by Facility to Provider, or for the
                   ·recommending or arranging of the purchase, rease or order of any item or
                    service. For purposes of thi' section, Provider and Facility will include each such
                    person or entity and any affi,iate thereof.
                                                   I
         H.        Business Review. If more ttian 5 facilities are listed on Exhibt A or, if as a result
                   of this Agreement, monthly (avenue from all payer sources exceeds $10,000, the
                   parties will meet at least •ml-annually to review the objectives and activities
                   relating to this Agreement. ;
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IN WITNESS WHEREOF, the parties have signed this Agreement on the dates appearing under
their respective signatures.       1

Facility:                                Provider:
Jeffrey Pine Holdings, LLC
dba Villa Las Palmas Healthcare Center


Ay ~d
 Dan ~nistrator
                                         Dynamic Medical Systems, LLC


                                         ~y: -    :p-              ~{
                                         Darrenhieding ·Vice Preside~t
                                         Invacare Outcomes Management LLC
                                                                         zs
Date:     I u - lo - t )
                                         Date:     /   iJ I//t. •/ 1 )
                                         Account Manager:
                                         Account Representative:




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                                           FXHIBIT A
                                            j




   Facility Name/s and Address/es:



  Jeffrey Pine Holdings, LLC
  dba Villa Las Palmas Healthcare Center
  622 S Anza St
  El Cajon, CA 92020
  Attn: Dan Gill - Administrator




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OMS LTC Provider Agreement
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                                               EXHIBIT B
 Product




· Standard Daily ReotaJ Rates
  Bariatric Low Air Loss Mattress                             $   13.00 per day

 Bariatric Low Air Loss Mattress with Bolstet                 $   14.50 per day

 Rotation Therapy Mattress (DynaTum)                          $   15.00 per day

 Bariatric Rotation Therapy Mattress Bariah'iF OynaTurn)      $   20.00 per day

 Air Powered Lateral Transfer System                          $   15.00 per day
                                                i
 Bariatric Air Powered Lateral Transfer Systtm                $   21.00 per day

 Bariatric Bed Frame (7501b capacity)           I
         WI Pressure Reducing Foam Matt~ss                    $   22.50 per day
         WI Pressure Relieving Air Mattress I                 $   32.50 per day
         Full Scales for Bariatric Bed frame                  $    3.00 per day


 Bariatric Commode                                            $   4.00 per day

 Bariatric VVheelchair (all sizes)                            $    5.50 per day

 Bariatric Walker                                             $    2.00 per day

 Bariatric Lift                                               $   18.00 per day

 Bariatric Trapeze (freestanding)                             $    3.00 per day

 Bariatric Trapeze (bed mounted > 750lb cap~cily frame)       $    3.00 per day

 Continuous Passive Motion Machine                            $   13.00 per day

 MoblVac Negative Pressure Wound Therap~ System - Pump        $   42.00 per day

 Semi-Electric Bed Frame                                      $120.00 per month

 Extra Long                                                   $130.00 per month
                                                    I
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HI-Low Bed Frame                                                                     $160.00 per month

Note: Medi-Cal residents will be eligible tolremain on the product if they have a minimum of
$240.00 or more available via share of ~t (under Johnson vs. Rank), or, any other alternate
payment source.                             i

                                                  l
Tiered pricing is implemented based on the foHowing criteria:

                a) The Tier II is applicable to   c~ntinuous
                                                           patient specific rental charges for the
                      AirDyne, MA 65 and MA85 t'ith or without a bolster.

                b) The Tier 11 discount applies ~nly to rentals billed to and paid by each facility and
                   does not apply to 3rd party b,llling.

                c) Tier price changes are effeGtive on the first day of the calendar month
                   immediately following the completion of each tier period.
                                                   I
                d) Measurement for the various tiers begins on the commencement date of a signed
                   provider agreement.       l     I




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                                                EXHIBIT C
                                                I




    Preventative Products                                                              MSRP

    MoblVac NPWT TruSeal Link Woundcare         kit (Economy)                          $ 28.50

    MoblVac NPWT T{USeal Link Woundcare Kit (Value)                                    $ 30.00

    MoblVac NPWT TruSeal Link Woundcare             f<it (Small Round Drain)           $ 28.50

    .MoblVac NPWT TruSeal Link Woundcare            fit (Medium Round Channel Drain)
                                                    i
                                                                                       $ 47.30
    Moblvac NPWT TruSeal Link Woundcare ~it (X-large Round Drain)                      $ 40.55
    Moblvac NPWT TruSeal Link Seal Kit              ;                                  $ 15.00
    · Moblvac NPWT Tubing Set with Y Connector                                         $   4.00

    Mobtvac NPWT Collection Canister with sdlidifier                                   $ 25.00

    MoblVac NPWT Nylon Transport Bag                I                                  $ 90.00
                                                        I



    MoblVac NPWT Pole Clamp                         I                                  $ 70.00
    Alternating Pressure Pad                            I                              $ 140.00
                                                        I
    SafetyDyne Sentry Foam Mattress                     !                              $ 235.00
                                                        I
    SafetyDyne Sentinel Foam Mattress                   i                              $ 295.00

    SafetyDyne Defender Foam Mattress                       \                          $ 355.00

·   SafetyDyne Sloped Heel Option (all styles)\                                        $    6.00

    SafetyDyne Raised Perimeter Siderail w/ln~ress/egress cut-out (all styles)         $ 34.00
                                                            I
    Maxifloat Heavyweight Foam Mattress                                                $ 700.00

    Body Float I- 76n, 80" or 84,. long                                                $ 175.00

    Body Float I with Raised Rails - 76". 80,. or       f"      long                   $ 200.00

    Body Float II - 76", 80" or 84" tong    i                                          $ 225.00
    With memory foam (AKA visco foam) in heef sedion

    Body Float II with Raised Rails- 76", 80" or~,, long                               $ 250.00
    With memory foam (AKA visco foam) In hee! section

    Wedge foam cushion                                                                 $   45.00

    Wedge      pommet cushion                                                          $ 80.00

    Wedge deluxe                                                                       $   70.00

    Side Rall Pads (soft)                                                              $ 125.00

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Heel Protectors                                                                       $   25.00

Foot Elevators (Foam)                                                                 $   25.00
Foot hugger/extender for wheelchair                                                   $ 65.00

Padded lap   tr1   for wheelchair                                                     $   75.00

Pads for wheet hair arm                                                               $   60.00

Lap buddy for wheelchair                                                              $   48.00

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                                    must~
All "supplies" orders on Exhibit 11C0      a minimum of $ 600.00 per order to each Facility. If
orders do not meet this minimum there wi I be a deHvery charge of $55 for non-urgent Provider
deHverfes and $125 for urgent deliv          es. Urgent deliveries must get approval of the
administrator If available.              I!




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                                        EXHIBIT B
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                                                PROVIDER AGREEMENT

Queen Ann's Lace Holdings, LLC , a California limited liability company dba Whitney Oaks Care Center
("Facility") and Dynamic Medical Systems LLC, a Nevada limited liability company (" Provider") enter into this
primary provider agreement (this "Agreement") dated August 1, 2015, for the consideration and upon the terms
and conditions set forth herein.

                                                         RECITALS

WHEREAS, Facility owns and/or operates one or more healthcare facilities at the locations designated on
Exhibit A hereto; and WHEREAS , Provider is engaged in the business of providing the products, services and
related supplies described on Exhibits B attached hereto (the "Resources"); and
WHEREAS, Provider and Facility wish to enter into this Agreement to provide the terms and conditions
whereby Provider shall provide the Resources to Facility.

NOW, THEREFORE, it is agreed:

1.        Requirements Contract; Scope

          A.         Facility hereby agrees to fill its requirements for Resources from Provider, subject to any legal
                     rights of patients of Facility to choose alternative providers; and, in consideration thereof,
                     Provider hereby agrees to fill the requirements of Facility for the Resources in an efficient, timely
                     and professional manner, in substantial compliance with all applicable government regulations
                     and at the rates specified herein. The initial prices for the Resources are set forth on Exhibits B
                     hereto.

          B.         Although this Agreement covers only the specific locations referenced in Exhibit A hereto,
                     Facility acknowledges and agrees that inclusion of other facilities owned, operated or otherwise
                     controlled by Facility will allow greater economies of scale to Facility. Accordingly, Facility shall
                     notify Provider in the event it considers changing providers for such other facilities and allow
                     Provider to suggest terms for serving such facilities under this Agreement or otherwise.

2.        Term.

          The term of this Agreement shall be for an initial term of three (3) years from and after the
          Commencement Date. For the purpose of this Agreement, the Commencement Date shall be August
          1, 2015. Thereafter the Agreement will automatically be renewed for one (1) year periods unless written
          notice is given by either party at least ninety (90) days prior to the then expiration date of the term of
          this Agreement of such party's intention not to renew the term of this Agreement. Provider may
          increase the prices for Resources as set forth in Exhibits B hereto by up to 3% on each calendar year
          upon prior written notice to the Facility.

3.        Payment Terms.

          A.         Provider and Facility shall jointly determine whether specific Resources provided under this
                     Agreement are to be reimbursed by Facility directly or whether Provider shall seek

Whitney Oaks Care Center 08. I0. I5                                       {01 274079.DOC;3}
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                    reimbursement from California Medi-Cal program ("Medi-Cal"), Medicare, or other third party
                    payors for such Resources.

          B.        For Resources charged directly to Facility, Facility is to remit payment to Provider within 30 days
                    of receipt of invoice from Provider, including those residents who are receiving services for
                    which Facility will seek reimbursement under Medicare, Medi-Cal/Medicaid, an HMO, or other
                    governmental or third party payors. A 1.5% late fee (or such lesser maximum amount allowed
                    by law) will be charged for any outstanding balance not paid by the 31st day of Facility's receipt
                    of invoice from Provider, which fee shall accrue every thirty (30) days thereafter until payment is
                    received by Provider. Facility's obligations to Provider shall accrue regardless of whether
                    Facility receives reimbursement from third party payors for the provision of such Resources.

          C.        For Resources charged to payors other than Facility, Provider reserves the right to determine
                    and adjust fees charged for the Resources.

         D.         Provider may seek Medi-Cal reimbursement directly for Medi-Cal Share of Cost for non-covered
                    services as provided for in this Agreement and the Medi-Cal laws, regulations and provider
                    manuals. Facility's Medi-Cal/Medicaid NPI Number is: 1134427362.

                    (i)       Medi-Cal Share of Cost. A resident who is a Medi-Cal beneficiary may charge the costs
                              of Resources to his or her Medi-Cal share of cost. Facility, with consultation from
                              Provider, assumes full responsibility for ensuring that Resources provided to residents
                              under Medi-Cal share of cost are medically necessary, ordered by a physician and
                              incorporated into the resident's plan of care. Facility agrees to be billed on behalf of the
                              Medi-Cal recipient for Resources which are the subject of Treatment Authorization
                              Request ("TAR") denials by the Department of Health Services field office or which are
                              not submitted for TAR approval. Facility also agrees that if Resources are ordered for a
                              qualifying resident, the share of cost be can billed directly in accordance with the
                              judgment and consent decree in the Johnson v . Rank court action and Medi-Cal policy
                              without submission of a TAR. Facility will obtain the resident's authorization to use share
                              of cost for the ordered product (Medi-Cal Form DHS6114). The parties agree that all
                              pharmacy invoices, if any , will be deducted from a resident's share of cost prior to
                              deducting any Resources. At no time will the Resources invoiced exceed a resident's
                              share of cost less all pharmacy charges.

                    (ii)      All Medi-Cal/Medicaid residents who meet the general regulations used in adjudicating
                              Treatment or Prior Authorization Requests will be serviced by Provider and billed
                              accordingly. Facility must provide the required documentation for each resident.
                              Services for all Medi-Cal/Medicaid residents that do not meet the Medi-Cal/Medicaid
                              general regulations will be billed to Facility.

4.        Breach or Default by Facility.

          If Facility does not pay the charges due hereunder or other amount required herein to be paid, fails to
          fulfill its responsibilities under Section 12 of this Agreement or otherwise breaches any of the terms or
          conditions of this Agreement, ceases doing business as a going concern, has a petition filed by or
          against it under any of the provisions of applicable bankruptcy laws then in effect, makes an
          assignment for the benefit of creditors, calls a general meeting of creditors or attempts any informal
          arrangement with creditors, or if a receiver or any officer of a court is appointed to have control of any
          Facility property, Provider shall have the right to exercise any one or more of the following remedies in
          order to protect its interests:

          A.        Terminate this Agreement in whole or in part;

          B.        Declare all unpaid charges to be immediately due and payable;

Whitney Oaks Care Center 08.10.15                                          {01274079.DOC;3}                             2
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          C.        Take possession of any or all Resources (30 days after notice is given), wherever the same be
                    located, without demand, without any court order or other process of law and without liability to
                    Facility for any damages occasioned by such taking of possession; or

          D.        Pursue any other remedies existing at law or in equity.

5.        Breach of Default by Provider.

          This Agreement can be terminated by Facility by at least thirty (30) days prior written notice in the event
          of (i) a breach of default by Provider of its duties hereunder, which breach or default has not been cured
          within one hundred eighty (180) days of written notice delivered by Facility to Provider specifying, in
          sufficient detail for corrective action, the claimed default by Provider, (ii) any violation of applicable laws
          or regulations, termination of any license, permit or other registration, or violation of the eligibility
          requirements for reimbursement under any government program by Provider, which violation or
          termination has a material impact on Provider's ability to perform its duties hereunder or (iii) the
          occurrence or existence of any condition, practice, procedure, action, inaction or omission of, by or
          involving Provider which, in the reasonable opinion of Facility, constitutes either a threat to the health,
          safety and welfare of any patient, resident and/or employee or a violation of any law or regulation
          governing Facility's operation.

6.        Facility Indemnification.

          Provider agrees to indemnify and hold Facility harmless against any and all claims, liabilities, damages
          and expenses, including without limitation, reasonable attorneys fees incurred by the party seeking
          indemnification in defending, or compromising actions brought against the party seeking indemnification
          or its officers, directors, employees agents and contractors arising out of or related to the acts or
          omissions of Provider or its employees, agents, and contractors in connection with the provision of
          services under this Agreement. Facility shall cooperate in the defense of any such claim, suit, action, or
          proceeding.

7.        Provider Indemnification.

          Facility agrees to indemnify and hold Provider and its officers, directors, employees, agents and
          contractors harmless against any and all claims, liabilities, damages and expenses, including without
          limitation, reasonable attorneys fees incurred by the party seeking indemnification in defending, or
          compromising actions brought against the party seeking indemnification or its officers, directors,
          employees agents and contractors arising out of or related to the acts or omissions of Facility or its
          employees, agents, and contractors in connection with the provision of services under this Agreement.
          Provider shall cooperate in the defense of any such claim, suit, action, or proceeding.

8.        Liability Coverage.

          Provider and Facility shall each maintain comprehensive general liability insurance at minimum levels
          of $1,000,000 per occurrence and $3,000,000 aggregate. Provider and Facility shall each provide the
          other party with written evidence of such insurance coverage upon request.

9.        Governing Law, Jurisdiction, Venue. Attorney's Fees and Costs.

          This Agreement shall be governed by and construed under the laws of the State of California. In the
          event of any dispute relating to this Agreement, the parties hereto, regardless of their residence, shall
          be subject to the jurisdiction of the courts of the State of California. The parties further agree that this
          Agreement is made and entered into in Los Angeles County, California, and regardless of where this
          contract is to be performed, the parties agree that the state and federal courts located in Los Angeles
          County, California, have venue for the purposes of litigating any dispute, controversy or proceeding
          arising out of or related to this Agreement. If any action or arbitration proceeding is brought to interpret

Whitney Oaks Care Center 08.10.1 S                                      {01274079.DOC;3}                               3
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          or enforce the terms of this Agreement, the prevailing party will be entitled to recover its attorneys fees
          and costs, including, but not limited to, forum, private judge and arbitrator fees.

10.       Assignment

         Provider shall be entitled to assign its rights under this Agreement to a sub-contractor, any affiliate of
         Provider, and to any company that acquires the business of Provider through acquisition or merger,
         without the consent of Facility. Facility may not assign its rights under this Agreement without the prior
         written consent of Provider. Notwithstanding the foregoing, the parties hereto agree that this
         Agreement shall be binding on any party that acquires the business of Facility in whole or in part
         through sale of equity, assets, merger, consolidation or other restructuring and/or assumes
         responsibility for or control over any of the facilities subject to this Agreement by management
         agreement or other contractual arrangement.

11.      Confidentiality Obligations; Records

         A.         Confidential Health Information. Provider and Facility acknowledge that confidential patient
                    records and other information that may constitute Protected Health Information (as defined
                    under the Health Insurance Portability and Accountability Act ("HIPAA")) may be shared
                    between the parties and their respective employees and agents pursuant to this Agreement.
                    Provider and Facility shall each maintain the confidentiality of all patient information exchanged
                    hereunder in accordance with all state and federal requirements, including, without limitation,
                    the requirements of HIPAA and shall enter into a business associate agreement if necessary.

          8.        Other Confidentiality Obligations. Facility agrees that the forms, manuals, pricing and billing
                    information and other non-public information and materials received by Facility from Provider
                    are proprietary to Provider and will not be duplicated, used (except pursuant to the provisions of
                    this Agreement) or disclosed to third parties without the prior written consent of Provider.
                    Facility also agrees that the form and content of this Agreement will not be disclosed to third
                    parties without the prior written consent of Provider.

          C.        Access to Records. During the term of this Agreement, and for a period of 4 years thereafter (or
                    any longer period stipulated by applicable law), each party shall upon reasonable request be
                    provided copies of the other party's patient records and other records relating to the services
                    provided under this Agreement for purposes of treating patients, receiving payment for services
                    provided (whether from Facility or other third party or governmental payers), health care
                    operations or other lawful purposes in connection with this Agreement or as necessary to
                    comply with audits or other investigations, but only to the extent such access may be given in
                    compliance with all applicable laws and regulations governing the use and confidentiality of
                    such records. Each party reserves the right to require payment from the other party of its
                    reasonable costs to provide any physical or electronic copies of such records.

12.       Facility Responsibility. Facility shall:

          A.        Fulfill its obligations under this Agreement in a timely, efficient and professional manner and in
                    compliance with all applicable laws and regulations.

          8.        Obtain all necessary treatment authorization requests ("TAR") or other prior authorizations
                    required by governmental and other third party payers in order for either Facility or Provider to
                    seek reimbursement for the Resources.

          C.        Notify Provider promptly as to any changes in a resident's status, including but not limited to
                    changes in billing status or discharge, for any resident receiving service under this Agreement
                    within forty-eight (48) hours of such change. Facility agrees to supply Provider within five (5)
                    days of request (written or oral), all available resident information requested by Provider and
                    also provide a completed Utilization/Billing matrix at the end of each month.
Whitney Oaks Care Center 08.10.15                                       {01274079.DOC;3}                            4
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          D.         Maintain all Resources supplied by Provider clean and free from misuse or abuse and disinfect
                     all rental Resources prior to being switched to a new resident.

          E.         Compensate Provider for the repair or replacement cost of any lost or damaged equipment at
                     Provider's sole discretion. .

          F.        Use and operate the equipment in accordance with all instructions and user manuals and take
                    all reasonable and appropriate measures to minimize any risks assocaited with the use of the
                    Resources.

          G.         Provide properly trained and licensed caregivers to monitor the safe use of the Resources.

          H.         Ensure that the Resources are properly prescribed or designated for use to the specific
                     patient's needs.

          I.         Provide Provider with access to all resident charts and medical records on residents covered
                     under Third Party bill ing program and accumulate resident usage on all Resources provided.

          J.        Sign Provider's authorization request/delivery ticket and any other paperwork reasonably
                    requested by Provider upon Facility's acceptance of any Resources.

          K.        Determine the PAR levels, clean, store and set up PAR equipment and track PAR mattress
                    utilization for Resources provided in connection with the PAR Program outlined in Section 13(8)
                    below.

13.       Provider Responsibility. Provider shall:

          A.        Provide equipment on a prompt and timely basis, in accordance with accepted professional
                    practices and in compliance with all state and federal laws. Rental or sales charges shall begin
                    to accrue on the day the Resources are placed at Facility and with respect to each order shall
                    continue until Provider is notified either verbally or in writing to remove the Resources.
                    Provider's normal hours of operation are 7:00 a.m. to 8:00 p.m., Monday through Friday.
                    Twenty-four hour EMERGENCY ONLY service is available by dialing 800-225-9080 after hours,
                    Saturday, Sunday and holidays. Emergency requests will be handled by Provider's on-duty
                    personnel.

          B.        Assist Facility to implement a mattress rapid response rental program (the "PAR Program")
                    whereby Provider shall deliver an agreed upon number of mattresses to Facility, and Facility
                    shall be responsible for transferring mattresses between Facility's residents as necessary and
                    appropriate. Facility shall pay the rental rates for all mattresses within the PAR Program
                    regardless of whether such mattresses are being used by a resident at all times. Provider will
                    reference prior historical utilization data to assist Facility in determining appropriate PAR level,
                    will monitor all PAR level placements and periodically discuss necessary changes to the PAR
                    level with Facility. Provider will also assist Facility with conversion to third party billing when
                    needed.

          C.        Provide a Utilization/Billing Matrix to Facility. The Matrix will be provided 7-10 days prior to each
                    month-end. This will allow Facility to notify Provider of any changes during the month so that
                    Provider can make the necessary changes to ensure that Facility's invoices will reflect the
                    correct billing status and dates of service.

          D.         E-mail or fax a billing invoice to Facility approximately the third (3rd) business day of the month.

          E.         Provide confirmation numbers when Facility requests an equipment delivery, pick-up or service.



Whitney Oaks Care Center 08. 10.15                                        {01274079.DOC;3 }                             5
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          F.        Provide copies of Provider's Policy and Procedure Manuals and/or Quality Assurance
                    monitoring tools. Updates to the Policies and Procedures will be provided as changes occur.

          G.        Provider shall not be obligated to provide any clinical consulting services in connection with the
                    Resources unless the parties executed a separate agreement or addendum relating to such
                    services.

14.       Responsibilities of Both Parties:

          A.        Both parties represent and warrant that:

          B.        Neither party has been convicted of any offense related to healthcare or the provision of
                    services paid for by Medicare, Medicaid, or any other federal or state healthcare program, or
                    excluded from participation in Medicare or Medicaid or any other federal or state healthcare
                    program;

          C.        Neither party is a party to any agreement or arrangement that would be violated or breached by
                    the execution or delivery of this Agreement or the performance of any of the obligations under
                    this Agreement, or that requires the consent of any third party (government or other) to enter
                    into or perform any of the obligations under this Agreement;

          D.        They are, and throughout the term of this Agreement shall remain, qualified to participate in
                    Medicare, Medicaid and such other federal or state healthcare programs as may be required by
                    them from time to time;

          E.        They shall abide by the policies, procedures, and rules as established by either party hereto;
                    and

          F.        The parties agree to comply with applicable state, local and federal laws, rules and regulations,
                    including without limitation those under Health Insurance Portability and Accountability Act or
                    Titles VI and VII of the Civil Rights Act of 1964, 42 U.S.C 117, the Federal False Claims Act,
                    any policy and procedure statements that may be issued by those bodies, and the following:

          G.        Title VI of the Civil Rights act of 1964 (PL 88-352) and all requirements imposed by applicable
                    regulations of the US Department of Health and Human Services regarding discrimination on
                    the grounds of race, color, handicap or national origin or exclusion from participation, denial of
                    benefits or other discrimination under any program or activity provided by any party;

          H.        Section 202 of Executive Order 11246, as amended by Executive Order 11375, relating to equal
                    employment opportunities, the implementing rules and regulation of the Secretary of Labor, and
                    all contract clauses and requirements which are applicable and set forth therein are
                    incorporated herein by specific reference;

          I.        Sections 503 and 504 of the Rehabilitation Act of 1973 and Title IV of the Vietnam Era Veterans
                    Readjustment Assistance Act of 1974 relating to employment and advancement in employment
                    of qualified handicapped individuals, disabled veterans of the Vietnam era, the implementing
                    rules and regulations of the Secretary of Labor, and all contract clauses and requirements which
                    are applicable and set forth therein are incorporated herein by specific reference;

          J.        Sections 1 and 3 of Executive Order 11625 relating to the promotion of minority business
                    enterprises, the implementing rules and regulations of the General Services Administration, and
                    all contract clauses and requirements which are applicable and set forth therein are
                    incorporated herein by specific reference




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15.       Warranty

          A.        Limited Warranty; Exclusion of Other Warranties. THIS LIMITED WARRANTY IS THE SOLE
                    WARRANTY PROVIDED BY PROVIDER WITH RESPECT TO THE PRODUCTS. NO SALES
                    BROCHURE OR OTHER PROMOTIONAL LITERATURE SHALL CONSTITUTE A GUARANTY
                    OR WARRANTY BY PROVIDER. PROVIDER WARRANTS THAT THE PRODUCTS WILL
                    OPERATE SUBSTANTIALLY IN CONFORMANCE WITH THE MANUFACTURER PUBLISHED
                    SPECIFICATIONS WHEN SUBJECT TO NORMAL, PROPER AND INTENDED USAGE BY
                    PROPERLY TRAINED PERSONNEL. MANUFACTURER PUBLISHED SPECIFICATIONS ARE
                    AVAILABLE UPON REQUEST. IF ANY OF THE PRODUCTS ARE FOUND TO BE
                    DEFECTIVE, SUCH PRODUCTS WILL, AT PROVIDER'S OPTION, BE REPAIRED AT
                    PROVIDER'S COST OR BE REPLACED. THIS WARRANTY IS IN LIEU OF ALL OTHER
                    WARRANTIES EXPRESS OR IMPLIED AND PROVIDER DISCLAIMS ANY WARRANTY OF
                    ANY OTHER KIND, INCLUDING ANY WARRANTY THAT THE PRODUCTS ARE
                    MERCHANTABLE OR FIT FOR A PARTICULAR PURPOSE. PROVIDER DOES NOT
                    WARRANT THAT THE PRODUCTS ARE ERROR-FREE OR WILL ACCOMPLISH ANY
                    PARTICULAR RESULT.

          B.        Limitation of Liability. Provider's liability (whether under the theories of breach of contract or
                    warranty, negligence or strict liability or otherwise) under this Agreement shall be limited as set
                    forth above. IN NO EVENT SHALL PROVIDER'S LIABILITY EXCEED THE RENTAL OR
                    PURCHASE PRICE OF THE PRODUCTS.

          C.        Disclaimer of Consequential Damages. IN NO EVENT SHALL EITHER PARTY BE LIABLE
                    FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF, OR IN
                    CONNECTION WITH THIS AGREEMENT INCLUDING, WITHOUT LIMITATION, BREACH OF
                    ANY OBLIGATION OR WARRANTY IMPOSED ON PROVIDER HEREUNDER. Consequential
                    damages shall include, without limitation, loss of use, income or profit, or loss sustained as the
                    result of injury to any person, or loss or damage to any property, or loss or damage sustained as
                    the result of work stoppage.

16.       Miscellaneous Provisions
          A.        Notices. All notices, requests, demands, and other communications hereunder shall be in
                    writing and shall be deemed to have been duly delivered either i) when delivered (by hand or by
                    overnight nationally recognized mail service) to the other party or ii) three (3) business days
                    after the same have been deposited in a United States post office, with first class postage
                    prepaid and addressed to the parties as follows or at such address as the party may have
                    previously provided in writing:


                    To Provider:           Dynamic Medical Systems, LLC
                                          2811 E Ana Street
                                          Rancho Dominguez, CA 90221
                                          Attn:  Contract Administrator
                                          Phone: 800-225-9080
                                          Fax:   866-896-7317

                    To Facility:          Queen Ann's Lace Holdings, LLC
                                          dba Whitney Oaks Care Center
                                          3529 Walnut Ave
                                          Carmichael, CA 95608-3049
                                          Attn: Kyle Dahl - Administrator
                                          Phone: 916 488-8601
                                          Fax: 916 488-0695

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          B.        Force Majeure. If either party fails to perform its obligations hereunder (except for the obligation
                    to pay money) because of strikes, accidents, acts of God, weather conditions, or action or
                    inaction of any governmental or other proper authority or other causes beyond its control, then,
                    such failure to perform will not be deemed a default hereunder and will be excused without
                    penalty until such time as said party is capable of performing.

          C.        Severability. If any provision of this Agreement or the application of such provision to any
                    person or circumstance shall be held illegal, unenforceable or invalid, the remainder of this
                    Agreement or the application of such provision to persons or circumstances other than those to
                    which it is held invalid, illegal or unenforceable shall not be affected thereby.

          D.        Successors and Assigns. Each and all of the provisions hereof shall be binding on and inure to
                    the benefit of the parties hereto and their respective heirs, executors, administrators,
                    successors, and permitted assigns.

          E.        Integration. This Agreement constitutes the entire understanding between the parties with
                    respect to the subject matter described herein, and supersedes all prior negotiations,
                    discussions, agreements or understandings, whether written, implied or oral.

          F.        Modification of Agreement. Any amendment or modification of or supplement to this Agreement
                    must be in writing, expressly identifying this Agreement and the portion or portions thereof which
                    are subject to modification, and signed by the parties. This Agreement may not be modified,
                    altered or added to by conduct. oral agreement, estoppels, and waiver or otherwise.

          G.        Fair Market Value. The amounts to be paid to Provider hereunder have been determined by the
                    parties through good faith and arms-length bargaining to be the fair market value of the services
                    to be rendered hereunder. No amount paid or to be paid hereunder is intended to be, nor will it
                    be construed as, an offer, inducement or payment, whether directly or indirectly, overtly or
                    covertly, for the referral of patients by Provider to Facility, or by Facility to Provider, or for the
                    recommending or arranging of the purchase, lease or order of any item or service. For purposes
                    of this section, Provider and Facility will include each such person or entity and any affiliate
                    thereof.

          H.        Business Review. If more than 5 facilities are listed on Exhibt A or, if as a result of this
                    Agreement, monthly revenue from all payer sources exceeds $10,000, the parties will meet at
                    least semi-annually to review the objectives and activities relating to this Agreement.




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IN WITNESS WHEREOF, the parties have signed this Agreement on the dates appearing under their
respective signatures.

           Facility: Queen Ann's Lace Holdings, LLC   Provider:
           dba Whitney Oaks Care Center
                                                      Dynamic Medical Systems, LLC

           By:
                                                      By:
           Print Name: Kvle D a h l - - - - - -               Greg Apostolou, General Manager

                                                      Date:
           Print Title: Administrator
                                                      Account Executive: Robert Husband
                                                      Account Representative:
           Date: _ _ _ _ _ _ _ _ _ _ __




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                                    EXHIBIT A


Facility Name/s and Address/es:


Chain name: Plum Healthcare

Queen Ann's Lace Holdings, LLC
dba Whitney Oaks Care Center
3529 Walnut Ave
Carmichael, CA 95608-3049
Attn: Kyle Dahl - Administrator
Phone: 916 488-8601
Fax: 916 488-0695




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                                              EXHIBITB


Product                                        Tier I Rental    Tier 11 Rental           Tier 111 Rental
                                                   Rate             Rate                     Rate
                                              (Months 1 - 6)   (Months 7 - 12)         (Over 12 Months)
Tiered Daily Rental Rate

AirDyne and/or Traditional Alternating    $     6.00 per day   $   4.50 per day         $   2.50 per day
Pressure & Low Air Loss Mattress

AirDyne and/or Traditional Alternating
Pressure & Low Air Loss Mattress          $     6.50 per day   $   5.00 per day         $    3.00 per day
with DynaBolster or Traditional Bolster


Daily Rentals

Bariatric Low Air Loss Mattress                                                   $     13.00 per day

Bariatric Low Air Loss Mattress with Bolster                                      $     14.50 per day

Rotation Therapy Mattress                                                         $     15.00 per day

Bariatric Rotation Therapy Mattress                                               $     20.00 per day

Air Powered Lateral Transfer System                                               $     15.00 per day

Bariatric Air Powered Lateral Transfer System                                     $     21.00 per day

Bariatric Bed Frame (7501b capacity)
        W/Pressure Reducing Foam Mattress                                         $     22.50 per day
        W/Pressure Relieving Air Mattress                                         $     32.50 per day
        Full Scales for Bariatric Bed Frame                                       $      3.00 per day

Bariatric Commode                                                                 $      4.00 per day

Bariatric Wheelchair (all sizes)                                                  $      5.50 per day

Bariatric Walker                                                                  $      2.00 per day

Bariatric Lift                                                                    $     18.00 per day

Bariatric Trapeze (freestanding)                                                  $      3.00 per day

Bariatric Trapeze (bed mounted > 7501b capacity frame)                            $      3.00 per day

CPM                                                                                  $ 13.00 per day

CPM Kit (Sale Only)                                                               $ 25.00 sale

SCD Machine                                                                      $     13.00 per day

Hi-Low Bed Frame                                                             $ 120.00 per month

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Note: Medi-Cal residents will be eligible to remain on the product if they have a minimum of
$240.00 or more available via share of cost (under Johnson vs. Rank), or, any other alternate
payment source.

      a) The Tier II and Tier Ill rates are applicable to continuous patient specific rental charges
         for Alternating and/or Low Air Loss Mattresses with or without a bolster. These rates
         apply only to rentals billed to and paid by each Facility and does not apply to 3rd party
         billing.

      b) Tier price changes are effective on the first day of the calendar month immediately
         following the completion of each tier period.

      c) Measurement for the various tiers begins on the commencement date of a signed
         provider agreement.




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                                       EXHIBIT C
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                                       PREFERRED PROVIDER AGREEMENT

LAC Verdugo Operations LLC dba Glendale Post Acute Center ("Facility") a California limited liability company,
located at 250 N. Verdugo Road, Glendale CA 91206and Dynamic Medical Systems LLC, a Nevada limited
liability company ("Provider") located at 2811 E. Ana Street, Rancho Dominguez, CA 90221 (each a "Party"
and collectively the "Parties") enter into this preferred provider agreement (this "Agreement") dated
October 1, 2016, for the consideration and upon the terms and conditions set forth herein.

                                                      RECITALS

WHEREAS, Facility owns and/or operates one or more healthcare facilities at the locations designated on
Exhibit A hereto;

WHEREAS, Provider is engaged in the business of providing the products, services and related supplies
described on Exhibits B and C attached hereto (the "Resources");

WHEREAS, Provider and Facility wish to enter into this Agreement to provide the terms and conditions
whereby Provider shall provide the Resources to Facility;

 WHEREAS, the purpose of this Agreement is for Provider to provide on a rental or purchase basis as
required , the Resources to Facility at all the locations listed on Exhibit A, attached hereto and incorporated
herein by reference; and

WHEREAS, Facility has a need and desires to contract with Provider as its Preferred Provider (as defined
below) for the provision of the Resources to patients who require such services as prescribed by their
attending physician.



NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and agreements herein
contained , and intending to be legally bound hereby, the Parties hereto hereby agree as follows:

1.      Preferred Provider; Requirements Contract; Scope.

        A.       For purposes of this Agreement, Preferred Provider shall be defined as utilization of the
                 Resources listed in Exhibits B and C with an aggregate 90% utilization rate for all Facility
                 locations. If utilization rates fall below an aggregate of 90% Facility shall have a ninety (90) day
                 cure period to bring utilization to a level of 90% or greater. Should FACILITY fail to cure,
                 Provider shall have the right to amend pricing in Exhibit B to commercially reasonable rates.

        B.       Facility hereby agrees to fill its requirements for Resources from Provider, subject to any legal
                 rights of patients of Facility to choose alternative providers; and , in consideration thereof,
                 Provider hereby agrees to fill the requirements of Facility for the Resources in an efficient, timely
                 and professional manner, in substantial compliance with all applicable government regulations
                 and at the rates specified herein. The initial prices for the Resources are set forth on Exhibits B
                 and C.


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        C.      Facility hereby represents and warrants that Exhibit A contains all locations currently owned or
                operated by Facility. In the event Facility acquires or adds additional management locations
                following the execution of this Agreement, such locations shall automatically be added to Exhibit
                A.
2.      Term.

        The term of this Agreement shall be for an initial term ("Initial Term") of three (3) years from and after
        the Commencement Date. For the purpose of this Agreement, the Commencement Date shall be
        October 1, 2016. Thereafter the Agreement will automatically be renewed for one (1) year periods
        ("Renewal Term") unless written notice is given by either Party at least ninety (90) days prior to the
        then expiration date of the term of this Agreement of such Party's intention not to renew the term of this
        Agreement for an additional period. Provider may increase the prices for Resources as set forth in
        Exhibits B and C hereto by up to 3% on each calendar year during the Initial Term and any
        Renewal Term upon prior written notice to the Facility.

3.      Payment Terms.

        A.      Provider and Facility shall jointly determine whether specific Resources provided under this
                Agreement are to be reimbursed by Facility directly or whether Provider shall seek
                reimbursement from California Medi-Cal program ("Medi-Cal"), Medicare, or other third party
                payors for such Resources.

        B.      For Resources charged directly to Facility, Facility is to remit payment to Provider within 30 days
                of receipt of invoice from Provider, including those residents who are receiving services for
                which Facility will seek reimbursement under Medicare, Medi-Cal/Medicaid, an HMO, or other
                governmental or third party payors. A 1.5% late fee (or such lesser maximum amount allowed
                by law) will be charged for any outstanding balance not paid by the 31st day of Facility's receipt
                of invoice from Provider, which fee shall accrue every thirty (30) days thereafter until payment is
                received by Provider. Facility's obligations to Provider shall accrue regardless of whether
                Facility receives reimbursement from third party payors for the provision of such Resources.

        C.      For Resources charged to payors other than Facility, Provider reserves the right to determine
                and adjust fees charged for the Resources.

        D.      Provider may seek Medi-Cal reimbursement directly for Medi-Cal Share of Cost for non-covered
                services as provided for in this Agreement and the Medi-Cal laws, regulations and provider
                manuals. Facility's Medi-Cal/Medicaid NPI Number is: 1659737906.

                 (i)     Medi-Cal Share of Cost. A resident who is a Medi-Cal beneficiary may charge the costs
                         of Resources to his or her Medi-Cal share of cost. Facility, with consultation from
                         Provider, assumes full responsibility for ensuring that Resources provided to residents
                         under Medi-Cal share of cost are medically necessary, ordered by a physician and
                         incorporated into the resident's plan of care. Facility agrees to be billed on behalf of the
                         Medi-Cal recipient for Resources which are the subject of Treatment Authorization
                         Request ('TAR") denials by the Department of Health Services field office or which are
                         not submitted for TAR approval. Facility also agrees that if Resources are ordered for a
                         qualifying resident, the share of cost can be billed directly in accordance with the
                         judgment and consent decree in the Johnson v. Rank court action and Medi-Cal policy
                         without submission of a TAR. Facility will obtain the resident's authorization to use share
                         of cost for the ordered product (Medi-Cal Form DHS6114). The Parties agree that all
                         pharmacy invoices, if any, will be deducted from a resident's share of cost prior to
                         deducting any Resources. At no time will the Resources invoiced exceed a resident's
                         share of cost less all pharmacy charges.


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               (ii)   All Medi-Cal/Medicaid residents who meet the general regulations used in adjudicating
                      Treatment or Prior Authorization Requests will be serviced by Provider and billed
                      accordingly. Facility must provide the required documentation for each resident.
                      Services for all Medi-Cal/Medicaid residents that do not meet the Medi-Cal/Medicaid
                      general regulations will be billed to Facility.

4.     Breach or Default by Facility.

       If Facility does not pay the charges due hereunder or other amount required herein to be paid, fails to
       fulfill its responsibilities under Section 12 of this Agreement or otherwise breaches any of the terms or
       conditions of this Agreement, ceases doing business as a going concern, has a petition filed by or
       against it under any of the provisions of applicable bankruptcy laws then in effect, makes an
       assignment for the benefit of creditors, calls a general meeting of creditors or attempts any informal
       arrangement with creditors, or if a receiver or any officer of a court is appointed to have control of any
       Facility property, Provider shall have the right to exercise any one or more of the following remedies in
       order to protect its interests:

       A.      Terminate this Agreement in whole or in part;

       B.      Declare all unpaid charges to be immediately due and payable;

       C.      Take possession of any or all Resources (30 days after notice is given), wherever the same be
               located, without demand, without any court order or other process of law and without liability to
               Facility for any damages occasioned by such taking of possession; or

       D.      Pursue any other remedies existing at law or in equity.

5.     Breach of Default by Provider.

       This Agreement can be terminated by Facility by at least thirty (30) days prior written notice in the event
       of (i) a breach of default by Provider of its duties hereunder, which breach or default has not been cured
       within one hundred eighty (180) days of written notice delivered by Facility to Provider specifying, in
       sufficient detail for corrective action, the claimed default by Provider, (ii) any violation of applicable laws
       or regulations, termination of any license, permit or other registration, or violation of the eligibility
       requirements for reimbursement under any government program by Provider, which violation or
       termination has a material impact on Provider's ability to perform its duties hereunder or (iii) the
       occurrence or existence of any condition, practice, procedure, action, inaction or omission of, by or
       involving Provider which, in the reasonable opinion of Facility, constitutes either a threat to the health,
       safety and welfare of any patient, resident and/or employee or a violation of any law or regulation
       governing Facility's operation.

6.     Facility Indemnification.

       Provider agrees to indemnify and hold Facility harmless against any and all third party claims, liabilities,
       damages and expenses, including without limitation, reasonable attorney's fees incurred by the Party
       seeking indemnification in defending, or compromising actions brought against the Party seeking
       indemnification or its officers, directors, employees agents and contractors arising out of or related to
       the grossly negligent or willful acts or omissions of Provider or its employees, agents, and contractors in
       connection with the provision of services under this Agreement. Facility shall cooperate in the defense
       of any such claim, suit, action, or proceeding.

7.     Provider Indemnification.

        Facility agrees to indemnify and hold Provider and its officers, directors, employees, agents and
        contractors harmless against any and all third party claims, liabilities, damages and expenses, including
        without limitation, reasonable attorney's fees incurred by the Party seeking indemnification in
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       defending, or compromising actions brought against the Party seeking indemnification or its officers,
       directors, employees agents and contractors arising out of or related to the grossly negligent or willful
       acts or omissions of Facility or its employees, agents, and contractors in connection with the provision
       of services under this Agreement. Provider shall cooperate in the defense of any such claim, suit,
       action, or proceeding.

8.     Liability Coverage.

       Provider and Facility shall each maintain comprehensive general liability insurance at minimum levels
       of $1,000,000 per occurrence and $3,000,000 aggregate. Provider and Facility shall each provide the
       other Party with written evidence of such insurance coverage upon request.

9.     Governing Law, Jurisdiction, Venue. Attorney's Fees and Costs.

       This Agreement shall be governed by and construed under the laws of the State of California. In the
       event of any dispute relating to this Agreement, the parties hereto, regardless of their residence, shall
       be subject to the jurisdiction of the courts of the State of California. The parties further agree that this
       Agreement is made and entered into in Los Angeles County, California, and regardless of where this
       contract is to be performed, the parties agree that the state and federal courts located in Los Angeles
       County, California, have venue for the purposes of litigating any dispute, controversy or proceeding
       arising out of or related to this Agreement. If any action or arbitration proceeding is brought to interpret
       or enforce the terms of this Agreement, the prevailing Party will be entitled to recover its attorney's fees
       and costs, including, but not limited to, forum, private judge and arbitrator fees.

10.    Status of Parties.

       Neither PROVIDER nor FACILITY is for any purpose an agent, partner or employee of the other. This
       Agreement does not constitute a joint venture between the parties. It is agreed that in performing its
       services pursuant to this Agreement, PROVIDER and its employees will, at all times, be an
       independent contractor to FACILITY.




11.    Assignment

       Provider shall be entitled to assign its rights under this Agreement to a sub-contractor, any affiliate of
       Provider, and to any company that acquires the business of Provider through acquisition or merger,
       without the consent of Facility. Facility may not assign its rights under this Agreement without the prior
       written consent of Provider. Notwithstanding the foregoing, the Parties hereto agree that this
       Agreement shall be binding on any Party that acquires the business of Facility in whole or in part
       through sale of equity, assets, merger, consolidation or other restructuring and/or assumes
       responsibility for or control over any of the facilities subject to this Agreement by management
       agreement or other contractual arrangement.



12.    Confidentiality Obligations; Records

       A.        Confidential Health Information. Provider and Facility acknowledge that confidential patient
                 records and other information that may constitute Protected Health Information (as defined
                 under the Health Insurance Portability and Accountability Act ("HIPAAn)) may be shared
                 between the parties and their respective employees and agents pursuant to this Agreement.
                 Provider and Facility shall each maintain the confidentiality of all patient information exchanged
                 hereunder in accordance with all state and federal requirements, including, without limitation,
                the requirements of HIPAA and shall enter into a business associate agreement if necessary.
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        B.      Other Confidentiality Obligations. Facility agrees that the forms, manuals, pricing and billing
                information and other non-public information and materials received by Facility from Provider
                are proprietary to Provider and will not be duplicated, used (except pursuant to the provisions of
                this Agreement) or disclosed to third parties without the prior written consent of Provider.
                Facility also agrees that the form and content of this Agreement will not be disclosed to third
                parties without the prior written consent of Provider.

        C.      Access to Records. During the term of this Agreement, and for a period of 4 years thereafter (or
                any longer period stipulated by applicable law), each Party shall upon reasonable request be
                provided copies of the other Party's patient records and other records relating to the services
                provided under this Agreement for purposes of treating patients, receiving payment for services
                provided (whether from Facility or other third party or governmental payers), health care
                operations or other lawful purposes in connection with this Agreement or as necessary to
                comply with audits or other investigations, but only to the extent such access may be given in
                compliance with all applicable laws and regulations governing the use and confidentiality of
                such records. Each Party reserves the right to require payment from the other Party of its
                reasonable costs to provide any physical or electronic copies of such records.

13.     Facility Responsibility. Facility shall:

        A.      Fulfill its obligations under this Agreement in a timely, efficient and professional manner and in
                compliance with all applicable laws and regulations.

        B.      Obtain all necessary treatment authorization requests ("TAR") or other prior authorizations
                required by governmental and other third party payers in order for either Facility or Provider to
                seek reimbursement for the Resources.

        C.      Notify Provider promptly as to any changes in a resident's status, including but not limited to
                changes in billing status or discharge, for any resident receiving service under this Agreement
                within forty-eight (48) hours of such change. Facility agrees to supply Provider within five (5)
                days of request (written or oral), all available resident information requested by Provider and
                also provide a completed Utilization/Billing matrix at the end of each month.

        D.      Maintain all Resources supplied by Provider clean and free from misuse or abuse and disinfect
                all rental Resources prior to being switched to a new resident.

        E.      Compensate Provider for the repair or replacement cost of any lost or damaged equipment at
                Provider's sole discretion.

        F.      Use and operate the equipment in accordance with all instructions and user manuals and take
                all reasonable and appropriate measures to minimize any risks assocaited with the use of the
                Resources.

        G.      Provide properly trained and licensed caregivers to monitor the safe use of the Resources.

        H.      Ensure that the Resources are properly prescribed or designated for use to the specific
                patient's needs.

        I.       Provide Provider with access to all resident charts and medical records on residents covered
                 under Third Party billing program and accumulate resident usage on all Resources provided.

        J.       Sign Provider's authorization request/delivery ticket and any other paperwork reasonably
                 requested by Provider upon Facility's acceptance of any Resources.



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        K.      Determine the PAR levels, clean. store and set up PAR equipment and track PAR mattress
                utilization for Resources provided in connection with the PAR Program outlined in Section 13(B)
                below.

14.     Provider Responsibility. Provider shall:

        A.      Provide equipment on a prompt and timely basis, in accordance with accepted professional
                practices and in compliance with all state and federal laws. Rental or sales charges shall begin
                to accrue on the day the Resources are placed at Facility and with respect to each order shall
                continue until Provider is notified either verbally or in writing to remove the Resources.
                Provider's normal hours of operation are 7:00 a.m. to 8:00 p.m., Monday through Friday.
                Twenty-four hour EMERGENCY ONLY service is available by dialing 800-225-9080 after hours,
                Saturday, Sunday and holidays. Emergency requests will be handled by Provider's on-duty
                personnel.

        B.      Assist Facility to implement a mattress rapid response rental program (the "PAR Program")
                whereby Provider shall deliver an agreed upon number of mattresses to Facility, and Facility
                shall be responsible for transferring mattresses between Facility's residents as necessary and
                appropriate. Facility shall pay the rental rates for all mattresses within the PAR Program
                regardless of whether such mattresses are being used by a resident at all times. Provider will
                reference prior historical utilization data to assist Facility in determining appropriate PAR level,
                will monitor all PAR level placements and periodically discuss necessary changes to the PAR
                level with Facility. Provider will also assist Facility with conversion to third party billing when
                needed.

        C.      Provide a Utilization/Billing Matrix to Facility. The Matrix will be provided 7-10 days prior to each
                month-end. This will allow Facility to notify Provider of any changes during the month so that
                Provider can make the necessary changes to ensure that Facility's invoices will reflect the
                correct billing status and dates of service.

        D.       E-mail or fax a billing invoice to Facility approximately the third (3rd) business day of the month.

        E.       Provide confirmation numbers when Facility requests an equipment delivery, pick-up or service.

        F.      Upon request of Facility, provide copies of Provider's Policy and Procedure Manuals and/or
                Quality Assurance monitoring tools. Updates to the Policies and Procedures will be provided as
                changes occur.

        G.      Provider shall not be obligated to provide any clinical consulting services in connection with the
                Resources unless the parties executed a separate agreement or addendum relating to such
                services.

15.     Responsibilities of Both Parties:

        A.       Both parties represent and warrant that:

        B.      Neither Party has been convicted of any offense related to healthcare or the provision of
                services paid for by Medicare, Medicaid, or any other federal or state healthcare program, or
                excluded from participation in Medicare or Medicaid or any other federal or state healthcare
                program;

        C.      Neither Party is a party to any agreement or arrangement that would be violated or breached by
                the execution or delivery of this Agreement or the performance of any of the obligations under
                this Agreement, or that requires the consent of any third party (government or other) to enter
                into or perform any of the obligations under this Agreement;

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        D.      They are, anc;t throughout the term of this Agreement shall remain, qualified to participate in
                Medicare, Medicaid and such other federal or state healthcare programs as may be required by
                them from time to time;

        E.      They shall abide by the policies, procedures, and rules as established by either party hereto;
                and

        F.      The Parties agree to comply with applicable state, local and federal laws, rules and regulations,
                including without limitation those under Health Insurance Portability and Accountability Act or
                Titles VI and VII of the Civil Rights Act of 1964, 42 U.S.C 117, the Federal False Claims Act,
                any policy and procedure statements that may be issued by those bodies, and the following:

        G.      Title VI of the Civil Rights act of 1964 (PL 88-352) and all requirements imposed by applicable
                regulations of the US Department of Health and Human Services regarding discrimination on
                the grounds of race, color, handicap or national origin or exclusion from participation, denial of
                benefits or other discrimination under any program or activity provided by any Party;

        H.      Section 202 of Executive Order 11246, as amended by Executive Order 11375, relating to equal
                employment opportunities, the implementing rules and regulation of the Secretary of Labor, and
                all contract clauses and requirements which are applicable and set forth therein are
                incorporated herein by specific reference;

        I.      Sections 503 and 504 of the Rehabilitation Act of 1973 and Title IV of the Vietnam Era Veterans
                Readjustment Assistance Act of 1974 relating to employment and advancement in employment
                of qualified handicapped individuals, disabled veterans of the Vietnam era, the implementing
                rules and regulations of the Secretary of Labor, and all contract clauses and requirements which
                are applicable and set forth therein are incorporated herein by specific reference;

        J.      Sections 1 and 3 of Executive Order 11625 relating to the promotion of minority business
                enterprises, the implementing rules and regulations of the General Services Administration, and
                all contract clauses and requirements which are applicable and set forth therein are
                incorporated herein by specific reference



16.     Warranty

        A.      Limited Warranty; Exclusion of Other Warranties. THIS LIMITED WARRANTY IS THE SOLE
                WARRANTY PROVIDED BY PROVIDER WITH RESPECT TO THE PRODUCTS. NO SALES
                BROCHURE OR OTHER PROMOTIONAL LITERATURE SHALL CONSTITUTE A GUARANTY
                OR WARRANTY BY PROVIDER. PROVIDER WARRANTS THAT THE PRODUCTS WILL
                OPERATE SUBSTANTIALLY IN CONFORMANCE WITH THE MANUFACTURER PUBLISHED
                SPECIFICATIONS WHEN SUBJECT TO NORMAL, PROPER AND INTENDED USAGE BY
                PROPERLY TRAINED PERSONNEL. MANUFACTURER PUBLISHED SPECIFICATIONS ARE
                AVAILABLE UPON REQUEST. IF ANY OF THE PRODUCTS ARE FOUND TO BE
                DEFECTIVE, SUCH PRODUCTS WILL, AT PROVIDER'S OPTION, BE REPAIRED AT
                PROVIDER'S COST OR BE REPLACED. THIS WARRANTY IS IN LIEU OF ALL OTHER
                WARRANTIES EXPRESS OR IMPLIED AND PROVIDER DISCLAIMS ANY WARRANTY OF
                ANY OTHER KIND, INCLUDING ANY WARRANTY THAT THE PRODUCTS ARE
                MERCHANTABLE OR FIT FOR A PARTICULAR PURPOSE. PROVIDER DOES NOT
                WARRANT THAT THE PRODUCTS ARE ERROR-FREE OR WILL ACCOMPLISH ANY
                PARTICULAR RESULT.

        B.      Limitation of Liability. Provider's liability (whether under the theories of breach of contract or
                warranty, negligence or strict liability or otherwise) under this Agreement shall be limited as set

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                forth above. IN NO EVENT SHALL PROVIDER'S LIABILITY EXCEED THE RENTAL OR
                PURCHASE PRICE OF THE PRODUCTS.

        C.      Disclaimer of Consequential Damages. IN NO EVENT SHALL EITHER PARTY BE LIABLE
                FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF, OR IN
                CONNECTION WITH THIS AGREEMENT INCLUDING, WITHOUT LIMITATION, BREACH OF
                ANY OBLIGATION OR WARRANTY IMPOSED ON PROVIDER HEREUNDER. Consequential
                damages shall include, without limitation, loss of use, income or profit, or loss sustained as the
                result of injury to any person, or loss or damage to any property, or loss or damage sustained as
                the result of work stoppage.

17.     Miscellaneous Provisions

        A.      Ownership.    Title to all rental Resources provided under this Agreement at all times shall
                remain with PROVIDER, unless otherwise sold to Facility.

        B.      Notices. All notices, requests, demands, and other communications hereunder shall be in
                writing and shall be deemed to have been duly delivered either i) when delivered (by hand or by
                overnight nationally recognized mail service) to the other Party or ii) three (3) business days
                after the same have been deposited in a United States post office, with first class postage
                prepaid and addressed to the parties as follows or at such address as the Party may have
                previously provided in writing:



                To Provider:           Dynamic Medical Systems, LLC
                                       2811 E Ana Street
                                       Rancho Dominguez, CA 90221
                                       Attn:  Contract Administrator
                                       Phone: 800-225-9080
                                       Fax:   866-896-7317

                To Facility:           LAC Verdugo Operations LLC Oba
                                       Glendale Post Acute Center
                                       250 N. Verdugo Road
                                       Glendale CA 91206
                                       Attn: Catherine Rodriguez - Administrator
                                       Phone: 818 244-1133
                                       Fax: 818 244-7961



        B.      Force Majeure. If either Party fails to perform its obligations hereunder (except for the obligation
                to pay money) because of strikes, accidents, acts of God, weather conditions, or action or
                inaction of any governmental or other proper authority or other causes beyond its control, then,
                such failure to perform will not be deemed a default hereunder and will be excused without
                penalty until such time as said Party is capable of performing.

        C.      Counterparts. This Agreement may be executed in one or more counterparts, each of which
                shall be deemed an original, but all of which together shall constitute but one and the same
                instrument. Each Party agrees that a photocopy or facsimile of this document with the signature
                of authorized representatives may be accepted with the same authority as the original.

        D.      Severability. If any provision of this Agreement or the application of such provision to any
                person or circumstance shall be held illegal, unenforceable or invalid, the remainder of this

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                Agreement or the application of such provision to persons or circumstances other than those to
                which it is held invalid, illegal or unenforceable shall not be affected thereby.


        E.      Waiver.  Waiver by either Party of a breach or violation of any prov1s1on of this
                Agreement will not operate as, or be construed to be, a waiver of any prior, concurrent, or
                subsequent breach or any other provision of this Agreement. None of the provisions of this
                Agreement will be considered waived by either Party except when such waiver is given in
                writing.

        D.      Successors and Assigns. Each and all of the provisions hereof shall be binding on and inure to
                the benefit of the parties hereto and their respective heirs, executors, administrators,
                successors, and permitted assigns.

        E.      Integration. This Agreement constitutes the entire understanding between the parties with
                respect to the subject matter described herein, and supersedes all prior negotiations,
                discussions, agreements or understandings, whether written, implied or oral.

        F.      Modification of Agreement. Any amendment or modification of or supplement to this Agreement
                must be in writing, expressly identifying this Agreement and the portion or portions thereof which
                are subject to modification, and signed by the parties. This Agreement may not be modified,
                altered or added to by conduct, oral agreement, estoppels, and waiver or otherwise.

        G.      Fair Market Value. The amounts to be paid to Provider hereunder have been determined by the
                parties through good faith and arms-length bargaining to be the fair market value of the services
                to be rendered hereunder. No amount paid or to be paid hereunder is intended to be, nor will it
                be construed as, an offer, inducement or payment, whether directly or indirectly, overtly or
                covertly, for the referral of patients by Provider to Facility, or by Facility to Provider, or for the
                recommending or arranging of the purchase, lease or order of any item or service. For purposes
                of this section, Provider and Facility will include each such person or entity and any affiliate
                thereof.

        H.      Business Review. If more than 5 facilities are listed on Exhibt A or, if as a result of this
                Agreement, monthly revenue from all payer sources exceeds $10,000, the parties will meet at
                least semi-annually to review the objectives and activities relating to this Agreement.




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IN WITNESS WHEREOF, the parties have signed this Agreement on the dates appearing under their
respective signatures.

         Facility: LAC Verdugo Operations LLC      Provider:
         Oba Glendale Post Acute Center
                                                   Dpmic Medical SystemS&>1~lefi1 signed by Greg Apostolou
                                                    l:J reg             .         ON: cn=Greg Apostolou,

                                                   -A               I             o=Oynamlc Medical Systems, LLC.


         By:
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         p-~~
                                                   Date:       10/11/16

           nnt ame:       athenne Rodri guez       Account Executive: Shannon Griggs
                                                   Account Representative: Marco Carreon
         Print Trtle: Administrator_ _ _ __

         Date:              I()/t     f) / ;   t




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                                       EXHIBIT A


Facility Name/s and Address/es:


LAC Verdugo Operations LLC Oba Glendale
Post Acute Center 250 N. Verdugo Road
Glendale CA 91206
Attn: Catherine Rodriguez - Administrator
Phone: 818 244-1133
Fax: 818 244-7961




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                                              EXHIBIT B

Product                                                                      Rental Rate



Daily Rentals
Alternating Pressure Mattress- Foam                                      $        6.00 per day

Alternating Pressure Mattress with Bolster- Foam                         $        6.50 per day

Alternating Pressure Mattress                                            $        6.00 per day

Alternating Pressure Mattress with Bolster                                   $    6.50 per day

Alternating Pressure and Low Air Loss Mattress                               $    8.00 per day

Alternating Pressure and Low Air Loss Mattress with Bolster                  $    8.50 per day

Dolphin Mattress                                                         $       40.00 per day

Dolphin Mattress with Bolster                                            $       41.00 per day

Bariatric AirDyne or Traditional LAUAP Mattress (powered)                $       14.00 per day

Bariatric AirDyne or Traditional LAUAP Mattress (powered) with Bolster   $       14.50 per day

Rotation Therapy Mattress                                                $       20.00 per day

Bariatric Rotation Therapy Mattress                                      $       25.00 per day

Air Powered Lateral Transfer System                                      $       20.00 per day

Bariatric Air Powered Lateral Transfer System                            $       25.00 per day

Bariatric Bed Frame WI Pressure Reducing Foam Mattress                   $       25. 00 per day

Bariatric Bed Frame WI Pressure Relieving Air Mattress                   $       40.00 per day

Scale for Bariatric Frame                                                $        5.00 per day

Attached Trapeze for Bariatric Frame                                     $        5.00 per day

Bariatric Trapeze (freestanding)                                         $        5.00 per day

Bariatric Commode                                                        $        5.00 per day

Wheelchair                                                               $        7.00 per day

Bariatric Wheelchair (30" width or greater)                              $       10.00 per day

Bariatric Walker                                                         $        3.50 per day

Bariatric Lift                                                           $       18.00 per day

Quantum NPWT Pump                                                        $ 40.00 per day
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CPM                                                                         $    12.00 per day

CPM Kit (Sale Only)                                                         $     25.00 sale

SCD Machine                                                                  $   9.00 per day

Hi-Low Bed Frame                                                             $   7.00 per day

Hi-Low Bed Extension                                                         $    .50 per day

Note: Medi-Cal residents will be eligible to remain on the product if they have a minimum of
$240.00 or more available via share of cost (under Johnson vs. Rank), or, any other alternate
payment source.




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                                            EXHIBIT C


NPWT Purchase Items                                                                  Price

ITI Dressing Set- Large (25x15 x 3 cm)                                               $   36.43

ITI Dressing Set- Medium (20x12.5 x 3 cm)                                            $   33.57

ITI Dressing Set - Small (1 O x 8 x 3 cm)                                            $   30.71

ITI Dressing Set - Extra Large (58.5 x 33 x 3 cm)*                                   $ 121.43

ITI Dressing Bridge Kit (two foam strips plus drape)                                 $   60.00

ITI White Foam Dressing only- Large                                                  $   31.43

ITI Suction Tubing w/ Speed Connect only                                             $   17.14

ITI Y-Connector                                                                      $    7.86

ITI Canister Set w/ Gel (300cc)                                                      $   24.28

ITI Canister Set w/o Gel (300cc)*                                                    $   24.28

ITI Canister Set w/ Gel (500cc)*, **                                                 $   34.14

Quantum I. V. Pole Hanger*,**                                                        $   65.00

ITI Irrigation tubing w/ Speed Connect*                                              $   26.29

ITI Irrigation Delivery Set*                                                         $   32.00

ITI Polyurethane Drape (25.5 x 33 cm)*                                               $    9.86

ITI SensiSkin Drape (25.5 x 33 cm)                                                   $   11.29

ITI AC Power Supply                                                                  $   85.71

Quantum AC Power Supply                                                              $   85.71

Quantum Carrying Case (black)                                                        $   35.71

* Indicates Quantum special order items. These are non-refundable/non-returnable and may
only be available in case quantities. Expect an increased delivery time. Customer can pay for
expedited shipping.
**I. V. Pole Hanger must be purchased to use when ordering 500cc canister sets




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